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            EXHIBIT A-40
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               DISTRICT OF COLUMBIA COURT OF APPEALS
                                                                                   Aug 11 2022 8:52am

               BOARD ON PROFESSIONAL RESPONSIBILITY

                                       Under Seal

 In the Matter of

 JEFFREY B. CLARK                                    Disciplinary Docket No.

 A Member of the Bar of the District                 2021-D193
 of Columbia Court of Appeals
                                                     UNDER SEAL
 Bar No. 455315

 Date of Admission: July 7, 1997


                 SEALED RESPONSE TO THE BOARD’S
                    AUGUST 8TH SEALING ORDER
                      INCLUDING A CALL FOR
                     AFFIRMATIVE RELIEF AND
                  INCORPORATED MOTION TO SEAL

       Comes now the Respondent and submits proposed redacted filings pursuant

to this Board’s August 8th Order. Respondent seeks clarification on the scope of

the Order and requests that all of the proceedings be sealed.


                         PROCEDURAL BACKGROUND

       On August 3 Respondent filed a Motion for Extension of Time to file a

response to the Office of Disciplinary Counsel’s (ODC’s) petition. Mtn. to Extend

(8/3/22).1 The motion relied among other things on

                                                                                 and


1 The Motion was later granted by the Hearing Committee over strenuous ODC objection.
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impairment of Respondent’s ability to defend this case caused by DOJ seizure of

most of his electronic devices. Id. at 2-3.




         On August 5, Respondent moved to seal the Motion to Extend and related

reply brief. ODC consented to the request. Although the motion did not

specifically reference the DOJ seizure, it requested that the filings be placed under

seal in their entirety. ODC also moved to seal its opposition to the Motion for

Extension.

         On August 8th the Board issued an Order granting all motions to seal but

ordering redacted versions of all pleadings be filed publicly. The Order called for

redaction of “confidential information”




         On August 8th, ODC filed a redacted version of its opposition but failed to

redact




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                               .

        EXPLANATION OF RESPONDENT’S PROPOSED REDACTIONS

   I.


        As stated above, this Board has allowed redaction

                                                                . This Order of the

Board should naturally be read to include

                                                              . Interpreting this

Order any other way would




        Specifically, ODC’s false allegations that Respondent attempted to avoid

service of process in bad faith, and Respondent’s response thereto, should be

received by this Board under seal.




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   II.      Information Relating to the Current Criminal Investigation2 of
            Respondent Should be Redacted and Received by This Board Under
            Seal.

         Although not specifically referenced in the Motions to Seal, Respondent

submits that it would be appropriate to receive nonpublic information relating to

the federal criminal investigation of Respondent under seal. Although federal

agents’ raid of Respondent’s home was widely reported, Respondent’s Motion for

Extension reveals nonpublic details about his employment, communications

between counsel and DOJ, and particular devices seized from Respondent’s home.

Mtn. at 2-3. Disclosing this information would prejudice Respondent’s rights to

privacy and assistance of counsel, and would also trigger unhelpful media efforts

to “read between the lines” or even wildly speculate. Sealing this material will not

prejudice the public’s legitimate interest in these proceedings because, as stated

already, the essential newsworthy fact that federal agents raided Respondent’s

residence has been long been public knowledge.

   III.     All Proceedings Before the Board Should Remain Sealed


          On August 11, 2022 (tomorrow), Respondent will lodge with the Board a




2 Respondent denies all wrongdoing (criminal and otherwise) and believes the DOJ investigation
of his public service is legally and factually flawed.

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                    RESPONDENT’S PROPOSED FILINGS

      Included with this filing are two redacted versions of Respondent’s Motion

for Extension and Reply. Exhibit B (Motion) and C (Reply) are redacted according

to the requests made in this filing;

                      and to the pending federal investigation of Respondent are

          redacted. Respondent proposes that if all proceedings running from the

filing of the Charges are not to be placed under seal (our primary position) at the

very least this set of redacted versions is the more appropriate response to the

Board’s August 8th order.

      Out of an abundance of caution, and to avoid any perception of failure to

comply with the August 8th order, however, Respondent has included a second set

of redacted documents. See Ex. D (Motion) – E (Reply).



                                          . Respondent submits, however, that

these redactions flow from an unnatural and overly literal reading of the August 8th

order. If the Board does not order the affirmative relief covered in the next section,

at the very least it should receive Exhibits B & C, and not Exhibits D & E, as the

official public version of the Motion for Extension defense filings. Relatedly, if the

Court agrees that Exhibits B & C embody the better approach, it should order




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Disciplinary Counsel to re-redact his own filing consistent with revised

instructions to be issued by the Board.4

                       INCORPORATED MOTION TO SEAL

       Respondent respectfully requests that this Board receive the instant filing

(i.e., this motion including Exhibit A) under seal. Under even the strictest reading

of the Board’s August 8th order, this filing by necessity references information

ordered to be received under seal. And if the Board rejects our primary position

that all filings in this case should be sealed and issues further guidance on the

scope of the August 8th order’s redaction provisions, Respondent will be pleased to

submit a redacted version of this filing pursuant to that guidance.

                                       CONCLUSION

       For the foregoing reasons, Respondent requests the Board to hold all filings

under seal pending resolution of the matters before the Court of Appeals. In the

alternative, Respondent requests this Board receive Exhibits B & C as a properly

redacted filing pursuant to the August 8th order. Respondent further requests that

this Board strike ODC’s redacted filing with instructions to refile in conformity




4 By proposing a preference for Exhibits B&C to be filed rather than Exhibits D&E, Respondent
should not be interpreted to be waiving the broader argument made above in Section III. that all
filings in this case should be placed under seal pending resolution of the sealed cased before the
D.C. Court of Appeals.

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with the Board’s ruling on this pleading, insofar as ODC’s redacted filing is at

variance with those instructions.

      Respectfully submitted this 10th day of August, 2022.

/s/ Charles Burnham                           Robert A. Destro*
                                              Ohio Bar #0024315
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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Motion to File Under Seal by U.S. First Class Mail with

sufficient postage thereon to insure delivery, and by email addressed to:

      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

      This this 10 day of August, 2022.


                                       /s/ Charles Burnham
                                       Charles Burnham
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                                   DCCA NO. 22-BS-0059

                                DISTRICT OF COLUMBIA

                                   COURT OF APPEALS


In the Matter of

CONFIDENTIAL (J.B.C.), ESQ.                         Disciplinary Docket

       Respondent,                                  No. 2021-D193

A Member of the Bar of the District of
Columbia Court of Appeals



                   R E S P O N S E TO M O T I O N TO C O M P E L A N D
                             C R O S S- MOTION TO QUASH




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                                      INTRODUCTION

       The Motion to Compel should be denied and the subpoena quashed on three grounds: (1)

Respondent Mr. Clark properly invoked his Fifth Amendment rights, see infra Section I; (2) the

Bar’s disciplinary authority does not extend to the preparation of privileged Executive Branch

discussion drafts of letters never sent, see infra Section II; and (3) investigating and potentially

punishing the preparation of confidential, non-public discussion drafts pertaining to a very

contentious political dispute, at the behest of a highly partisan member of the opposite party in a

rival branch of government, would embroil the Bar in matters far beyond its charter, and pervert

the disciplinary process to purely political ends, see infra Section III. Oral argument is requested.

                                 STATEMENT OF FACTS

NATURE AND ORIGIN OF COMPLAINT FROM SENATOR DURBIN

       The Office of Disciplinary Counsel (“ODC”) began its investigation of Respondent a week

after receiving a letter from Senator Richard Durbin, Chairman of the Senate Judiciary Committee.

Senator Durbin has no personal knowledge of the matters complained of. At least one other

politically motivated complaint was filed by a collection of third-party detractors but was rightly

rejected by ODC for lack of personal knowledge, which should similarly have been fatal to the

Durbin complaint as well.

       Senator Durbin, a partisan opponent of President Trump, here complains about a

confidential and privileged discussion draft of a letter calling for more legislative investigation

allegedly prepared by Respondent while he was a senior DOJ official about a matter of intense

political controversy. The draft was reportedly the subject of vigorous internal privileged and

confidential debate involving legal judgment, first among senior DOJ officials including

Respondent, and later played out before the President himself and his most senior legal advisors

at the White House and DOJ. After considering the letter, the President appears to have decided
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against sending it, and so it was never sent. That was the end of the matter, at least until the phalanx

of privileges attending the preparation and discussion of the draft—executive, law enforcement,

and attorney-client—were all breached via anonymous leaks to the New York Times, and it became

fodder for the lawfare element of the political witch hunt currently underway against Respondent.

        The crux of the allegations are that Respondent made knowingly false statements of fact

about possible election anomalies in the never-sent discussion draft of a letter calling for

investigation. The allegations of “knowing falsity” rest on the dogged premise that there was no

possible good-faith belief that there were any election irregularities sufficient to suggest a state

legislature engage in further investigation. But premises do not equal truth; they are just the

position of one side in an intense partisan political controversy that evenly divides Americans.

        Being evenly balanced between the political parties, Senator Durbin’s Senate Judiciary

Committee could not issue subpoenas.1 Senator Durbin’s letter to the ODC consequently spoke

only for himself, not the entire Committee. ODC has thus taken up a complaint from a single

politically motivated member of one branch of government who is trying to weaponize the bar

disciplinary process against a senior official (from a rival political party) at an Executive Branch

department over a never-sent privileged and confidential discussion draft of a letter calling for

more state legislative process. The complaint, the investigation, and any potential punishment are

thus all directed not against conduct but against constitutionally protected thoughts and legal

advice deemed contrary to the foundational premise upon which the allegations rest.

        To proceed further, ODC would have to distinguish among (1) the true state of the facts;

(2) individual perceptions of the facts; (3) opinions about the significance of the perceived facts;



1  See Rule IX of the Rules of Procedure of the United States Senate, available at
https://tinyurl.com/36uuee5f (last visited Feb. 15, 2022), a rule with constitutional imprimatur,
U.S. Const., art. I, § 5 (“Each House may determine the Rules of its Proceedings ....”).

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and (4) legal, policy and prudential judgments about what ought to be done or not done in light of

the perceived facts. At the time, there were intense controversies attached to each of these four

tiers of inquiry. Those controversies still exist and will persist well into the future—just as they

still do with respect to the Bush v. Gore controversy arising back in 2000.

ODC’ S A C T I O N S T O D A T E

       After docketing Senator Durbin’s complaint on October 14, 2021, ODC made immediate

resort to a subpoena, bypassing less invasive or aggressive methods of trying to gather information.

       ODC’s aggression out of the gate stumbled on a series of procedural faults along the way.

A first letter purporting to transmit the subpoena to Respondent’s former counsel dated October

18, 2021, the so-called “B letter,” was never received. See Affidavit of Robert A. Driscoll, ¶¶ 4-11

(attached as Exhibit 1). A follow-up “D letter,” premised on the lack of any response to the first

letter and dated November 9, 2021 and purportedly sent to Respondent’s former counsel, was also

never received. See generally Driscoll Affidavit.

       On November 22, 2021, Disciplinary Counsel, Mr. Fox, left a voice mail for Respondent’s

former counsel saying that no response had been received to either letter and that a motion to

compel would be filed that day or early the next morning. See id. at ¶ 6. The former counsel, Mr.

Driscoll, immediately returned the call and informed Mr. Fox that he had never received anything

from him and that he no longer represented Mr. Clark. See id. at ¶ 7. Mr. Driscoll then double-

checked all incoming email systems including filters and regular mail and confirmed that nothing

had been received from Mr. Fox, and so informed Mr. Fox. See id. at ¶ 8-9.

       Importantly, Mr. Fox never mentioned or discussed a subpoena with Mr. Driscoll, and Mr.

Driscoll never made any agreement to accept service of the subpoena on behalf of the Respondent.

Thereafter, Mr. Fox attempted to deliver a new “B letter” dated November 22, 2021 and subpoena

directly to Respondent. This letter, however, was initially not received either.


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       Next, Respondent got Covid, and Mr. Fox very kindly accommodated his recovery. Mr.

Fox and Respondent later began exchanging emails in which Mr. Fox attempted to deliver the

letter and its exhibits via email. This too was beset with delivery problems. Some of the email

exchanged between Respondent and Mr. Fox and his assistants was intercepted by each side’s

spam filters. Mr. Clark thus did not receive the full set of documents comprising the “B letter” and

its attachments until January 6, 2022. See Aff. of Resp., ¶¶ 4-6 (attached as Exhibit 2).

       Respondent agreed to and did respond to ODC’s letter and subpoena on January 31, 2022.

See id. at ¶ 6. But he never agreed to accept service of the subpoena via email.

       The subpoena called for Respondent to either produce documents or appear at the Bar

offices on the return date (which was never corrected by ODC to the agreed-on January 31, 2022

date) if documents were not to be produced. On Friday January 28, 2022, new counsel for

Respondent spoke to Mr. Fox by telephone to say that Respondent would invoke the Fifth

Amendment and would not be producing any documents, inquiring if Respondent nevertheless

needed to appear. Mr. Fox replied, “no,” but that if Mr. Clark claimed the Fifth Amendment against

the production of documents, “I promise you I will ratchet up the discipline” and that a motion to

compel would be rapidly filed. Mr. Fox followed up with an email at 8:30 PM that Friday evening

reiterating that threat. See Harry MacDougald Aff. at ¶¶ 5-6 (attached as Exhibit 3).

       On January 31, 2022, Mr. MacDougald (one of Mr. Clark’s undersigned counsel) delivered

to Mr. Fox two lengthy letters responding to the unserved subpoena. The shorter letter invoked,

inter alia, Mr. Clark’s Fifth Amendment privilege against self-incrimination as well as the act of

production doctrine, and laid out in detail the basis for a well-founded fear of criminal prosecution

and the overlap with a document subpoena issued by the January 6 House Select Committee. The

letter thus requested a deferral under Board Rule 4.1, noted the defects in the subpoena’s service,




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highlighted separation of powers issues, and reserved all other rights, defenses, and objections.

The longer letter asserted a series of substantive legal objections to the ODC proceeding with the

investigation and attached the full set of letters to the January 6 Committee as exhibits.

       Mr. Fox filed this Motion to Compel on February 3, 2022. There was no meet and confer

(see Board Rule 2.9(a)) or other discussion about Respondents’ objections. While the Motion

recites that it was served with exhibits by regular mail and email on February 3, 2022, a remarkable

series of clerical problems in ODC prevented delivery of the complete motion and exhibits from

being accomplished until February 14, 2022. See Exhibit 3 ¶¶ 7-15. When Mr. Fox was first

informed of non-deliver, he quickly sent the Motion to Compel to undersigned counsel, informed

us that the exhibits were documents we already had, and agreed that the response to his Motion

could be filed on February 15, 2022, and a motion to that effect was filed in this Court. Id. at ¶ 10.

       Mr. Fox produced certain correspondence with Senator Durbin and his staff dated October

14, 2021, which informed the Senator that his complaint had been docketed as an investigation

rather than a charge, that the matter was confidential, and that he would automatically furnish the

Senator with any response made by Mr. Clark. In his letters to Mr. Fox of January 31, 2022 in

response to the subpoena, undersigned counsel vigorously objected to furnishing Mr. Clark’s

response to Senator Durbin on the grounds that it would breach the confidentiality of the

proceedings, as Senator Durbin was not Respondent’s client, and that in the supercharged political

atmosphere surrounding the underlying issues, doing so would very likely result in a media leak

of the information, further fueling the partisan furor raging against Mr. Clark.

       Mr. Fox also produced “Touhy correspondence” with DOJ (see 28 C.F.R. § 16.21 et seq.),

seeking access to former DOJ officials as witnesses. DOJ replied, agreeing to Mr. Fox’s request.

However, DOJ failed in multiple respects to comply with its own regulations governing such




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matters, as we are just setting before DOJ today and thus which we do not further address here,

pending a response by DOJ. Lastly, Mr. Fox also shared two additional Touhy-related documents

with us on February 11, 2022.

                                           ARGUMENT

PROCEDURAL BACKGROUND

        A. Enforcement of Subpoenas

        When conducting an investigation, Disciplinary Counsel may propound “written inquiries”

with the explicit limitation that the investigation is subject to “constitutional limitations.” D.C. Bar

Rule XI, § 8(a). But no subpoena may include inquiries crossing over into the impermissible

territory of litigation-like interrogatories. See In re Artis, 883 A.2d 85 (D.C. 2005). This Court

frames disciplinary proceedings as “adversary, adjudicatory proceedings” related to property rights

and which therefore are attended by due process protections. See In re Benjamin, 698 A.2d 434,

439 (D.C. 1997) (citing In re Thorup, 432 A.2d 1221, 1225 (D.C. 1981)).

        Disciplinary Counsel may compel the attendance of witnesses and the production of

pertinent books, papers, documents, etc., but only subject to D.C. Superior Court Rule 45. See D.C.

Bar Rule XI, § 18(a). This Court may, “on proper application,” enforce a subpoena. See id., §

18(d).2 Superior Court Rule 45(b)(1) prescribes the manner for service of subpoenas, requiring

delivery to the person named by anyone over the age of 18 years who is not a party to the action

and the tendering of certain fees if attendance is demanded (as it originally was in the alternative

here). Rule 45(b)(3) requires the one serving the subpoena to certify proof of service showing the


2 However, if there is a challenge to the subpoena, Bar Rule XI, § 18(c) contemplates a Board of
Professional Responsibility’s Hearing Committee to hear and determine the challenge. We did not
bring such a challenge because ODC did not engage in the required meet and confer after we filed
the January 31, 2022 letters. ODC simply proceeded immediately to this Court. Especially given
the pendency of various investigations—and the interim nature of the report that Senator Durbin’s
staff prepared, we are at a loss to explain why ODC considers this matter to be exigent.

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date and manner of service and the name of the person served.

       Board Rules 3.14 through 3.16 also control subpoenas issued during an investigation, and

they allow for Disciplinary Counsel to apply directly to this Court for enforcement. On February

3, 2022, Disciplinary Counsel chose to file a motion to enforce directly with this Court.

       Pursuant to Superior Court Rule 45(c)(3)(A), as transplanted here, subpoenas may be

quashed on timely motion if they require disclosure of privileged or protected matter not subject

to exception or waiver, is unduly burdensome or fails to provide a reasonable time to comply; and

under sub-rule (c)(3)(B)(i) if the subpoena requests “confidential research.” Parties may also

describe their objections, if substantiated, to a subpoena as “overbroad” or amounting to a “fishing

expedition.” In re Confidential, 701 A.2d 842, 842 (D.C. 1997). If there is an assertion of a

privilege, etc., then under Superior Court Rule 45(d)(2), the claim must be expressly made.

       B. Standard of Review

       Since Disciplinary Counsel chose to seek enforcement of his subpoena directly with the

Court of Appeals, any issues and objections must be decided here in the first instance and not on

review. Since the subpoena enforcement involves questions of law, questions of fact, and mixed

questions of law and fact, the Court should act in the same vein as a trial court, deciding questions

of law and finding facts. Cf. In re Public Defender Serv., 831 A.2d 890, 898-99 (D.C. 2003), which

discussed the various roles in the context of a grand jury subpoena. This analysis applies here by

analogy as well, especially given the assertion of constitutional and other privileges.

       C. The Subpoena Was Improperly Served and Should Be Quashed.

       The applicable procedure for service of subpoenas is very clear. Superior Court Rule

45(b)(1) requires that the subpoena be served by an adult who is not party to the action, coupled

with certified proof of subpoena service and tendered fees (if attendance might be required). There

is no certified proof of service by an adult here (and no fees tendered) because the subpoena was


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not so served. Service was not waived, no testimony has been given, and objections were timely

made, preserving all rights. See In re Sealed Case, 116 F.3d 550, 561-62 (D.C. Cir. 1997).

        Thus, the service requirement has not been met. And where subpoenas are not properly

served, they must be quashed. See Hamer v. Eastern Credit Ass’n, Inc., 192 A.2d 127 (D.C. 1963);

see also Pulley v. United States, 532 A.2d 651, 653 (D.C. 1987) (citing CF&I Steel Corp. v. Mitsui

& Co. (U.S.A.), Inc., 713 F.2d 494 (9th Cir. 1983) (quashing subpoena for failure to tender fees)).

        Further, since Superior Court Rule 45 is “virtually identical” to Fed. R. Civ. P. Rule 45, it

is instructive to refer to the importance of maintaining the integrity of the service requirement. See

also FTC v. Compagnie De Saint-Gobain-Pont-A-Mousson, 636 F.2d 1300, 1312-13 (D.C. Cir.

1980), which underscored the point:

        By contrast, Federal Rule 45(c), governing subpoena service, does not permit any
        form of mail service, nor does it allow service of the subpoena merely by delivery
        to a witness’ dwelling place. Thus, under the Federal Rules, compulsory process
        may be served upon an unwilling witness only in person. Even within the United
        States, and even upon a United States citizen, service by registered U.S. mail is
        never a valid means of delivering compulsory process ….

See also id. at 1307.

        The Supreme Court has repeatedly emphasized the importance of service. See, e.g., Murphy

Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344 (1999) (even actual notice via fax of a

file-stamped copy of a pleading was not valid service). “Service of process, under longstanding

tradition in our system of justice, is fundamental to any procedural imposition on a named

defendant …. Unless a named defendant agrees to waive service, the summons continues to

function as the sine qua non directing an individual or entity to participate in a civil action or forgo

procedural or substantive rights.” Id. at 350-51.

I.      THE FIFTH AMENDMENT BARS ENFORCEMENT OF THE SUBPOENA.

        The Fifth Amendment privilege against self-incrimination:



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       not only protects the individual against being involuntarily called as a witness
       against himself in a criminal prosecution but also privileges him not to answer
       official questions put to him in any other proceeding, civil or criminal, formal or
       informal, where the answers might incriminate him in future criminal proceedings.

Lefkowitz v. Turley, 414 U.S. 70, 77 (1973) (emphasis added).

       A. Mr. Clark Properly Invoked the Fifth Amendment.

       In the District, it has long been settled that a court evaluating a Fifth Amendment claim

should not speculate about whether criminal prosecution is “likely” but should instead limit its

inquiry to whether criminal prosecution is “possible.” Carter v. United States, 684 A.2d 331, 334-

35, 338 (D.C. 1996) (en banc). The Carter decision overruled a line of cases requiring courts to

assess the probability of prosecution before upholding Fifth Amendment privilege.

       Moreover, the Fifth Amendment is to be “liberally construed” and thus is not limited to

situations where the compelled disclosures themselves would be incriminating. It is sufficient if

the disclosure could possibly supply a “link in the chain” leading to prosecution. Wilson v. United

States, 558 A.2d 1135, 1141 (D.C. 1989), overruled on other grounds by Carter, 684 A.2d 331

(D.C. 1996) (en banc). In a foundational case, the United States Supreme Court described this

concept as follows: “A question which might appear at first sight a very innocent one might, by

affording a link in a chain of evidence, become the means of bringing home an offense to the party

answering.” Mason v. United States, 244 U.S. 362, 364-66 (1917) (citing 1861 English decision).

       Although the Fifth Amendment must normally be asserted on a question-by-question basis,

this Court recognizes that the combination of the “possible prosecution” standard and the “link in

the chain” doctrine can easily render entire areas of testimony privileged. See, e.g., Butler v. United

States, 890 A.2d 181, 188 (D.C. 2006) (granting a witness blanket immunity was procedurally

flawed but harmless since it was “obvious that any testimony” would be incriminating) (italics in

original); Johnson v. United States, 746 A.2d 349, 356 (D.C. 2000) (same).



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       ODC’s investigation of Mr. Clark presents an obvious Fifth Amendment case. The letter

from Senator Durbin that triggered this investigation itself states that “Mr. Clark appears to have

violated Rule 1.2(e)’s prohibition against counseling a client to engage, or assisting a client, in

conduct the lawyer knows is criminal or fraudulent.” Exhibit 4 at 2 (internal quotations and

brackets omitted) (emphasis added). This allegation of criminal conduct in the triggering

complaint, standing alone, is sufficient to justify Mr. Clark’s Fifth Amendment invocation. If

further reinforcement is needed, Mr. Clark’s letter in response to this subpoena detailed many

examples of lawyers implicitly or explicitly calling for Mr. Clark’s criminal prosecution based on

his service in the Justice Department. See Exhibit C to Motion to Enforce at 6-8. Notably, the

January 6 Select Committee appears to have accepted Mr. Clark’s invocation of the Fifth

Amendment as to the same subject matter and has publicly pivoted to the topic of whether to grant

him immunity.3

       In contesting the validity of Mr. Clark’s Fifth Amendment invocation, Disciplinary Counsel

first argues that the Office of Disciplinary Counsel itself cannot charge crimes. Motion at 7. As

quoted above, however, the Supreme Court has long held that the Fifth Amendment applies outside

of the strictly criminal context, if the disclosures “might incriminate in [] future criminal

proceedings.” Lefkowitz, 414 U.S. at 77. And most importantly, this Court has held repeatedly that

Fifth Amendment protection applies in Disciplinary Counsel cases. See, e.g., In re Artis, 883 A.2d

85, 103 (D.C. 2005); In re Burton, 472 A.2d 831, 845-46 (D.C. 1984).

       Disciplinary Counsel then argues that Mr. Clark has not asserted he is “even the subject,

much less the target, of any criminal investigation.” Motion at 7. Putting aside the obvious point



3 See, e.g., Daniel Chaitin, Jan. 6 Committee Member Floats Immunity for Trump Justice Official,
WASH. EXAMINER (Feb. 3, 2022), available at https://tinyurl.com/bdemy976, (last visited Feb. 15,
2022); https://tinyurl.com/2n6cu36c (Rep. Lofgren, YouTube video) (last visited Feb. 15, 2022).

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the criminal investigations are often confidential, no Court has ever held that Fifth Amendment

protection is only available to persons known to be under active criminal investigation.

Disciplinary counsel cites no cases in support of this argument.

       Next, Disciplinary Counsel argues that Mr. Clark has not “specif[ied] what criminal

charges [he] might realistically be subject to.” Id. This argument is unavailing for two reasons.

First, Mr. Clark has no burden to show that he “might realistically be subject to” criminal

prosecution. This standard for Fifth Amendment protection was explicitly rejected by this Court

en banc in Carter, cited above. Second, this Court has never required individuals seeking Fifth

Amendment protection to identify specific criminal statutes. Disciplinary Counsel cites no case

imposing this requirement. In any event, in his counsel’s letter to Disciplinary Counsel, Mr. Clark

cited an editorial by several prominent law professors that did identify several specific statutes the

authors contended could serve as a basis for criminal investigation of former President Trump and

“members of his inner circle.” Motion, Exhibit 3 at 8 (collected list of statutes below):

       Obstruction of an Official Proceeding (18 U.S.C. § 1512); Conspiracy to Defraud
       the Government (18 U.S.C § 371); Voter Fraud for Pressuring State Officials Not
       to Certify the Election (52 U.S.C. § 20511); the Hatch Act (5 U.S.C. § 7323); the
       Racketeer Influenced and Corrupt Organizations Act (RICO, 18 U.S.C. § 1962(c));
       Insurrection (18 U.S.C. § 2383); and Seditious Conspiracy (18 U.S.C. § 2384).

       B. Disciplinary Counsel’s Subpoena Amounts to an Improper Set of
          Interrogatories and Thus It Is Not Even Necessary to Reach the Act of
          Production Doctrine.

       Disciplinary Counsel also disputes Mr. Clark’s invocation of the Fifth Amendment “act of

production” privilege. But Disciplinary Counsel’s arguments in that vein fail because ODC’s

subpoena is plainly more than a simple demand for documents.

       To be sure, the Fifth Amendment privilege does not ordinarily apply to “pre-existing,

voluntarily prepared documents.” Fisher v. United States, 425 U.S. 391, 408-09 (1976). However,

when a given request goes in any way beyond mere production of pre-existing documents, the


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Fifth Amendment bar arises. See, e.g., United States v. John Does, 465 U.S. 605, 610-15 (1984)

(compelled oral or written testimony that restates the contents of documents would be privileged).

       In In re Artis, this Court considered a case where Disciplinary Counsel had issued

“interrogatory-like questions” to respondent. 888 A.2d 85 (D.C. 2005). This Court affirmed the

respondent’s right to assert his Fifth Amendment privilege and did not order the respondent to

answer Disciplinary Counsel’s “interrogatory-like questions.” Id. at 99, 101 & n.13.

       Here, Disciplinary Counsel incorrectly claims that its subpoena merely seeks “five

categories of documents.” Motion at 11-12. To the contrary, the subpoena seeks much more than

that and is in fact directly analogous to the “interrogatory-like questions” (i.e., those inherently

forcing respondent admissions) at issue in In re Artis. The emphasized portions of the following

subpoena requests make clear that more than simple production of documents is demanded:

   •   Produce all documents and records … of which you were aware before January 4, 2021,
       that contain evidence of irregularities in the 2020 presidential election and that may
       have affected the outcome in Georgia or any other state;

   •   Identify the source of any document (including contact information for any persons
       bringing the document to your attention, how it came to your attention, and the date it
       came to your attention;

   •   Specify what information of election fraud came to your attention following the
       announcement of Attorney General Barr on December 1, 2020 that the Department found
       no evidence of fraud on a scale that could have affected the results of the presidential
       election;

   •   Produce any file or collection of materials or correspondence, written or electronic,
       relating to any efforts that you made between the November 3, 2020 presidential election
       and January 4, 2021, that relate in any way to any efforts you made to persuade officials
       of the United States Department of Justice to intervene in the certification by any state;

   •   Provide the results of any legal research that you conducted, had conducted, or received
       before January 4, 2021 … [t]his information should include any research that addresses
       the responsibility of the Assistant Attorney General of the Civil Division or the Assistant
       Attorney General of the Environmental [sic] and Natural Resources Division to investigate
       allegations of election fraud;



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   •   Provide all written policies and guidelines of the Department of Justice, of which you were
       aware and that were in effect between November 3, 2020 and January 4, 2021, relating to
       the circumstances in which lawyers at the Department of Justice were permitted to be in
       direct contact with officials of the White House or the Executive Office of the President;

       The emphasized portions of the foregoing list of demands make clear that the subpoena

does not simply request “categories of documents.” It requires Mr. Clark to make substantive

assertions or concessions about such things as: (1) when he became aware of certain documents;

(2) how and by whom the documents came to his attention; (3) the relationship between the

documents and his “efforts”; (4) the “results” of his legal research and when he conducted it; and

(5) which policies he was “aware [of] that were in effect” at certain times. These requests go far

beyond the type of “preexisting documents” that fall outside the scope of the Fifth AmendmentThe

requests demand substantive admissions from Mr. Clark about facts relating to his mens rea and

that could obviously be used as a “link in the chain” of some future criminal case. And even if

there are no responsive documents to a given request, this answer itself could be used as an

admission to incriminate Mr. Clark. It is therefore not necessary even to engage in an “act of

production” analysis to sustain Mr. Clark’s Fifth Amendment invocation.

       C. Even to the Extent It Is Implicated Here, Mr. Clark Has a Strong and Valid
          Basis to Claim the Act of Production Privilege.

       However, to the extent this Court decides the Fifth Amendment act of production doctrine

is implicated here, District law clearly supports Mr. Clark’s ability to assert this privilege in

response to the subpoena. In In re Public Defender Service, this Court held as follows:

       A government subpoena compels the holder of the document to perform an act that
       may have testimonial aspects and an incriminating effect. That is, by producing
       documents in compliance with a subpoena, the witness would admit that the papers
       existed, were in his possession or control, and were authentic.

                                               ***
       Even where the contents of a subpoenaed document may be incriminating, the act
       of production privilege is not automatic. The act of production privilege does not
       apply if the existence and authenticity of a document is a foregone conclusion as


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       would be the case if the act of production adds little or nothing to the sum total of
       the Government’s information.

831 A.2d 890, 912 (D.C. 2003) (internal quotations and citations omitted).

       Instead of attempting to meet In re Public Defender Service’s “foregone conclusion”

standard, Disciplinary Counsel argues that Mr. Clark has not shown that responding to the

subpoena will conclusively prove him guilty of a crime:

       This is far removed from the situation in Hubble, where a criminal defendant was
       required to produce to the grand jury personal financial records which established
       his income tax evasion, or in Public Defender Service, where a grand jury
       subpoena, if complied with, might have linked the defendant to a coerced witness
       statement.

Motion at 13 (emphasis added). However, there is no requirement that Mr. Clark demonstrate that

responding to the subpoena will conclusively prove him guilty of a criminal act. Ohio v. Reiner,

532 U.S. 17, 18 (2001) (Fifth Amendment “protects the innocent as well as the guilty”); see also

In re Artis, 883 A.2d at 99 (noting Board’s conclusion, which was affirmed in relevant part, that

respondents “should not be obligated to respond to vague and overly broad questions that require

him or her to make Bar Counsel’s case”). It is sufficient if the subpoena response could furnish a

“link in the chain” of possible prosecution, even if meritless. Mr. Clark has met that standard.

II.    THE SUBPOENA SHOULD BE QUASHED BECAUSE THE CHALLENGED
       CONDUCT IS NOT SUBJECT TO BAR DISCIPLINE.

       In the grand jury context, this Court has held that a subpoena must have a “legitimate

purpose.” Brooks v. United States, 448 A.2d 253, 261 (D.C. 1982). See also In re Horowitz, 482

F.2d 72, 80 (2d. Cir. 1973) (documents that have “no conceivable relevance” to legitimate object

of grand jury investigation need not be produced); In re Rabbinical Seminary Netzach Israel

Ramailis, 450 F. Supp. 1078, 1084 (E.D.N.Y. 1978) (“The documents requested must be shown to

have some general relevance to the subject matter of a legitimate grand jury investigation.”).

       The same rationale of these grand jury cases applies in the bar discipline context. As


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explained below, ODC’s subpoena should be quashed because it has no reasonable relation to a

legitimate area of bar discipline enforcement.

        A. 28 USC § 530B(a) Does Not Confer on the D.C. Bar Unfettered Authority
           to Investigate or Regulate the Discretionary Actions of DOJ Lawyers.

        Under the U.S. Constitution, the President of the United States, not the Attorney General

is its chief law enforcement officer. See U.S. Const., art. II, § 3 (the President “shall take Care that

the Laws be faithfully executed ….”). It is therefore far from obvious that state and local bar

authorities can always wield disciplinary jurisdiction over lawyers authorized by virtue of their

appointments pursuant to Article II, to exercise executive authority and advise the President, as

that could hamper the President’s ability to obtain legal advice.

        In keeping with the President’s authority and right to receive full and frank advice and

information, senior federal officers have a reciprocal duty to provide it upon request. See U.S.

Const., art. II, § 2, cl. 1 (Opinion Clause); 28 U.S.C. § 506 (Assistant Attorney Generals, like Mr.

Clark, to be appointed by President with advice and consent of Senate); OLC Opinion, State Bar

Disciplinary Rules as Applied to Federal Government Attorneys (Aug. 2, 1985) (“Rules

promulgated by state courts or bar associations that are inconsistent with the requirements or

exigencies of federal service may violate the Supremacy Clause.”), available at

https://tinyurl.com/56bft7sb, last visited (Feb. 15, 2022) (hereafter “OLC Opinion”).

        Where, as here, the face of Disciplinary Counsel’s interrogatories show that they seek

access to information that ODC has no authority to seek or review, the Court need not reach the

constitutional arguments in order to quash the subpoena. We nevertheless reserve them.4




4 See Bond v. United States, 572 U.S. 844, 855 (2014) (“well-established principle governing the
prudent exercise of this Court’s jurisdiction [is] that normally the Court will not decide a
constitutional question if there is some other ground upon which to dispose of the case.”).


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       That is because even beyond the Fifth Amendment as applied here, there is a more than

sufficient basis on which to deny enforcement of the subpoena. For the statute Congress passed

purporting to subject Justice Department lawyers to state and local bar rules, 28 U.S.C. § 530B(a),

does not authorize any inquiry into the internal policy deliberations of the Department of Justice

or of any other agency of the federal government that employs lawyers. Nor does the statute, by

its terms, authorize the D.C. Bar to oversee the enforcement of internal DOJ and Executive Branch

policies governing the conduct of their respective internal operations. See 28 U.S.C. § 530B(a)

(“An attorney for the Government shall be subject to State laws and rules, and local Federal court

rules, governing attorneys in each State where such attorney engages in that attorney’s duties, to

the same extent and in the same manner as other attorneys in that State.”) (emphasis added).

Relatedly, in 1999 DOJ improperly purported to extend the reach of Section 530B(a), by regulation

issued under Section 530(B)(b), to the District of Columbia. See 28 C.F.R. § 77.2(h).5



5 The relevant preamble (hastily assembled via an interim final rule) does not even address how
the Justice Department could try, via its subordinated rulemaking powers, to extend the statute to
the District of Columbia when the statute does not mention the District. The preamble cites to 28
U.S.C. §§ 509, 510, 515(a), 516, 517, 519, 533, and 547. See 64 Fed. Reg. 19,273, 19274 (Apr.
20, 1999). But none of these statutes even reference the District of Columbia specifically. And
these provisions say nothing about the power of D.C. Bar authorities to sit in oversight of the
discretionary actions of Justice Department lawyers. The 1999 rule is thus invalid under step one
of the Chevron test, which voids regulatory interpretations of any statute that conflict with the
statute’s plain text, interpreted using “traditional tools of statutory construction.” Chevron, U.S.A.,
Inc. v. NRDC, Inc., 467 U.S. 837, 843 n.9 (1984). And the canon of interpreting statutes as part of
the corpus juris (the whole body of the law) is no doubt such a traditional tool of statutory
interpretation. See, e.g., Branch v. Smith, 538 U.S. 254, 282 (2003) (“courts do not interpret
statutes in isolation, but in the context of the corpus juris of which they are a part, including later-
enacted statutes.”). The plain text is violated here because D.C. is not a “State,” see infra.

The preamble also mentions (1) Pub. L. 96-132, 93 Stat. 1040, 1044 (1979); and (2) Pub. L. 105-
277 (1998), section 102 of the Departments of Commerce, Justice and State, the Judiciary, and
Related Agencies Appropriations Act. But both of these provisions are appropriations law limited
to one-off fiscal years; they lack general effect. Moreover, the former provision predates Section
530B(a) and the latter provision is silent on 530B(a) and thus cannot be read to amend it. Finally,



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       All lawyers who practice before this Court and in the federal courts of the District of

Columbia are, by statute, subject to the authority of each court to control the conduct of the

attorneys who appear there. Significantly, there is an established, but limited, procedure for doing

so. See, e.g., D.C. Code § 11-944(a) (contempt for “disobedience of an order or for contempt

committed in the presence of the court”); 28 U.S.C. § 1927 (counsel’s liability for excessive costs);

see also generally D.C. Code § 23-1330 (preserving contempt power). The D.C. Bar, by contrast,

has no general investigatory authority over the ethics of Department of Justice lawyers. The

Constitution reserves that power to the Executive Branch.

       Section 530B(a) reflects this division of authority. The District of Columbia is not a “State.”

All law in the District is federal law and Congress alone defines the nature, scope, and means of

enforcement of all federal powers exercised here, including that of the D.C. Bar. U.S. Const., art.

I, § 8, cl. 17 (“Seat of the Government”). Specific language is ordinarily required to treat the

District as if it were a State. See, e.g., District of Columbia v. Carter, 409 U.S. 418, 432-33 (1973)

(D.C. not a State for purposes of 42 U.S.C. § 1983). The United States Code is replete with

examples where Congress has specifically defined D.C. to fall within the meaning of the term

“State,” but only for purposes of that particular statute.6 Indeed, by contrast, Chapter 31 of part II

of title 28 of the United States Code lacks any specialized definition section. Congress thus knows


the fact that the statutes DOJ cited to extend Section 530B(a) to District of Columbia Bar rules
point to two specific appropriations statutes mentioning the District shows that not even the DOJ
of 1999 thought that it would be plausible to argue that D.C. Bar’s rules were “local Federal court
rules” within the meaning of Section 530B(a) or the preamble would have made that argument.
6 See, e.g., 28 U.S.C. § 1257(b) (“For the purposes of this section, the term ‘highest court of a
State’ includes the District of Columbia Court of Appeals.”); 42 U.S.C. § 8285a(2) (“the term
‘State’ means any of the several States, the District of Columbia …”); see also, e.g., 26 U.S.C. §
170(c)(1) (applying term “charitable contribution” for tax purposes to include gifts for the use of
“States, a possession of the United States … or the United States or the District of Columbia”);.
And Supreme Court Rule 47 states that “[t]he term “state court,” when used in these Rules,
includes the District of Columbia Court of Appeals.”


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how to confer power on District authorities when it wants to. And it expressly withheld it here.

       And for good reason. The conduct that Disciplinary Counsel seeks to investigate is not

behavior committed in the presence of a court and found by it to have violated its rules of conduct.

Mr. Clark was a senior Executive Branch official who served as the head of two of Main Justice’s

seven litigating divisions, each with nationwide jurisdiction. His client was the Executive Branch,

and the power to define the nature and scope of his duties to that client and its member departments

and agencies, and to investigate alleged violations of DOJ and other federal rules of lawyer

conduct, rest in the first instance with the Executive Branch alone. The same holds true for

allegations that an attorney employed by the federal government has violated federal law.

       To be clear, this does not mean that Mr. Clark is free of all ethical obligations here. DOJ

houses both an Office of Professional Responsibility and an Office of Inspector General (“OIG”).

The OIG is investigating the matters Senator Durbin’s complaint involves. See DOJ Office of

Inspector General, available at https://tinyurl.com/2p9ad5tm (Jan 25, 2021) (last visited Feb. 15,

2022). That ODC seeks, through this subpoena, to jump ahead of that investigation and, in effect,

preempt it (rather than vice versa) is clear from ODC’s refusal to defer under Board Rule 4.1 until

federal authorities with authority over DOJ officials complete their respective investigations.

       ODC’s rush to assert disciplinary jurisdiction in this case is a clear indication that its

investigation is intended to thrust itself into the administration of the federal Executive Branch and

to use its subpoena power for partisan purposes. Senator Durbin has no direct knowledge of the

facts, and only the Department of Justice knows what information it holds concerning how and to

what extent it investigated the 2020 election. It is undisputed that DOJ has denied the Senate

Judiciary Committee access to DOJ’s investigative records. See Exhibit 5 (Letter, ADAG

Weinsheimer to Mr. Clark (July 26, 2021)). It is also likely that it will object if Mr. Clark seeks




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these records to defend against the allegations of misconduct made by Senator Durbin.

       Senator Durbin thus turned to ODC, in the hope that it would lend its subpoena power to

the effort to advance the political narrative of his investigation. This Court should reject that end

run around the limits on the Senate Judiciary Committee’s party balance and quash the subpoena.

       B. Under 28 U.S.C. § 530B and 28 C.F.R. § 77.2, the Bar Has No Jurisdiction
          Over Respondent Because It Does Not “Ordinarily Apply” Discipline to the
          Particular Conduct in Question.

       Even if the foregoing jurisdictional hurdle were overcome, 28 U.S.C. § 530B extends state

bar disciplinary jurisdiction over federal government lawyers only “to the same extent and in the

same manner as other attorneys in that State.” Similarly, the regulation subjecting lawyers working

for the federal government to local bar disciplinary processes, 28 C.F.R. § 77.2(j)(2) (emphasis

added), contains an important exception: it does not apply if the local jurisdiction “would not

ordinarily apply its rules of ethical conduct to particular conduct or activity by the attorney.”

       Neither the D.C. Bar, nor any bar in America, “ordinarily” disciplines lawyers over never-

sent confidential internal discussions of letters drafted for assessment and consideration. It is

unheard of. And neither Mr. Fox nor undersigned counsel have been able to identify any such case

anywhere. This alone should be fatal to the Bar’s jurisdiction in this case.

       C. There Is No Precedent for Disciplining a Lawyer Over a Never-Sent
          Discussion Draft of a Document Calling for State Investigation.

       D.C. Rules of Professional Conduct (hereafter “RPC”) 8.4(c) prohibits “conduct involving

dishonesty, fraud, deceit, or misrepresentation.” The people to whom the draft letter was allegedly

delivered, and whose signature would be required thereon, were the Acting Attorney General Jeff

Rosen and the Principal Associate Deputy Attorney General Richard Donoghue. They are not

minors or seniors with diminished capacity who might easily be misled. They are instead seasoned

lawyers who make no claim of having been deceived and no doubt understood the draft letter to



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be a proposal contingent on facts they were in superior possession of. Instead, they are reported to

have vehemently rejected the draft letter, and to have persuaded the President to reject it as well.

       Of the species of misconduct prohibited by RPC 8.4(c), dishonesty sometimes appears the

most broadly construed. In the Matter of Shorter, 570 A.2d 760, 767–68 (D.C. 1990), the lawyer

answered questions posed by the IRS honestly, but only answered the questions asked and did not

volunteer information not asked for that he knew they would want to know. Though not “legally

… characterized as an act of fraud, deceit or misrepresentation,” the conduct showed “a lack of

honesty, probity or integrity in principle; a lack of fairness and straightforwardness.” And in In re

Romansky, 825 A.2d 311, 315–17 (D.C. 2003), the lawyer instructed an associate to record time

to a client other than the one for whom the work was actually done. Though it was an internal

accounting matter that did not operate to the financial detriment of either client, it was held to be

dishonest because it simply was not true. But the conduct challenged in this case falls far short of

even the highwater marks of RPC 8.4(c)’s reach as reflected in Shorter and Romansky.

       In this case, a privileged and confidential draft of a letter appears to have been discussed

amongst strong-willed senior officials who had diverging access to facts, diverging views of the

facts, diverging views of the facts’ significance, and diverging views of what ought to be done.

There appears to have been a frank exchange of views on each of these areas of disagreement—as

the rules of privilege and confidentiality are meant to protect and indeed foster. The matter was

presented to the ultimate decision maker, President Trump, and after hearing differing views, he

decided against the letter, and that was the end of the matter. RPC 8.4(c) thus has no application,

and, to the knowledge of the undersigned, has never applied to anything like this situation.

       D. Rule 8.4(d) Does Not Apply.

       In In re Yelverton, 105 A.3d 413, 426 (D.C. 2014), this Court held that “[c]onduct violates

RPC 8.4(d) when it is (1) improper, (2) bears directly on the judicial process with respect to an


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identifiable case or tribunal, and (3) harms the judicial process in a more than a de minimis way.”

(emphasis added). And In re Pearson is to the same effect, stating the third element in slightly

different verbiage to require the conduct to “taint[s] the judicial process in more than a de minimis

way’” 228 A.3d 417,426 (D.C. 2020), citing In re Hopkins, 677 A.2d 55, 59–61 (D.C. 1996).

       Not one of these three essential elements is remotely established by what is alleged here.

First, confidential and privileged internal deliberations and debates over legal theories and

arguments are not improper. Second, there is no identifiable case or tribunal because the entire

discussion appears to have been internal and confidential, and no document was ever filed in any

court or tribunal anywhere. Third, no judicial process was harmed because nothing was ever filed

in any court or tribunal anywhere. RPC 8.4(d) simply does not apply to the conduct in question.

       The application of Bar discipline, at the behest of a bitter political adversary of the former

President, to a confidential discussion draft of a letter never sent, which simply called for more

state legislative investigation, is unprecedented, unfounded, and improper. One must ask why this

docket was opened and whether political influence was at play.

III.   THE POLITICAL PANDORA’S BOX HERE SHOULD NOT BE OPENED.

       It should be self-evident that a bar disciplinary process may not be appropriately used as

an instrumentality of partisan political warfare. The country is sharply divided over the propriety

of the 2020 election. Investigations into and litigation over the conduct of the election rage across

many States around the country, with notable decisions finding irregularities and illegality. Absent

affirmative misconduct in a particular case or before a particular tribunal, the Bar should not join

the victors on the battlefield in the grisly business of dispatching the wounded, especially in a case

such as this. Among the many evils that would ensue, the Bar’s neutrality would suffer gravely.

Presidential Administrations change hands and weeding out frivolous complaints protects the Bar.




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       A. Legislators in Georgia and Other States                       Called    for   Legislative
          Reexaminations of Their Electoral Votes.

       In Georgia, a Committee of the State Senate held hearings on election irregularities and

found that “[t]he oral testimonies of witnesses on December 3, 2020, and subsequently, the written

testimonies submitted by many others, provide ample evidence that the 2020 Georgia General

Election was so compromised by systemic irregularities and voter fraud that it should not be

certified.”7 The Report recommended, inter alia, calling a special session of the legislature to

consider whether to rescind the certification of Georgia’ electors and determine the “proper

Electors” for the State of Georgia. Id. at p. 15. Other States acted similarly.

       B. Under Disciplinary Counsel’s Unrestrained Theory, a Host of Members of
          Congress Who Are Lawyers Committed Ethical Violations by Questioning
          the Election.

       Numerous members of Congress over the years, especially on one side of the political

divide, have questioned presidential election results. Indeed, the Chair of the House January 6

Select Committee, Bennie Thompson, objected to the certification of the 2000 and 2004

presidential elections.8 And his fellow January 6 Committee member, Jaime Raskin—both a

lawyer and constitutional law professor—objected to certification during the 2016 presidential

election. See Rep. Raskin Challenges Awarding of Electors, YOUTUBE, available at

https://tinyurl.com/wa6735ty (Jan 8, 2017) (last visited Feb. 15, 2022). Indeed, Senator Durbin,

the sole complainant here, defended Senator Boxer’s right to object to certification of the 2004




7 Chairman’s Report of the Election Law Study Subcommittee of the Standing Senate Judiciary
Committee, available at https://tinyurl.com/3dzkfmxf (Dec. 17, 2020) (last visited Feb. 15, 2022).
8 The Congressional Black Caucus objected to the certification of Florida’s electoral votes. See
147 Cong. Rec. H34 (Jan. 6, 2001). Representative Thompson is a member of that caucus See also
151 Cong. Rec. H127 (Jan. 6, 2005).

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election, assuming her good faith, even though he opted not to object himself.9 No leaked,

purported facts show Mr. Clark to have done anything other than raise questions inside DOJ and

at the White House about the 2020 presidential election’s regularity in particular States and

counties. See, e.g. Trump 2d Impeachment Trial, Day 2 Tr. (Feb. 10, 2021), available at

https://tinyurl.com/ryd3ktzk (last visited Feb. 15, 2022) (impeachment manager stating that

President Trump “turned to Jeffrey Clark, another Department lawyer, who had allegedly

expressed support for using the Department of Justice to investigate the election results,” going on

to say Acting Attorney General Rosen “refuse[d] to reopen investigations”). That is a debatable,

internal DOJ decision as to how much or little to investigate, not a disciplinary matter.

       Indeed, just as Senator Durbin did with Senator Boxer, Mr. Clark’s good faith should be

presumed, even if his DOJ superiors and colleagues disagreed with him on the merits, just as every

other Senator in 2004 disagreed with Senator Boxer, who stood as the sole Senator challenging the

Bush v. Kerry election. Objections and a desire to further investigate the results of presidential

elections are simply not the stuff of proper bar complaints, especially not by politically motivated

complainants like Senator Durbin, who have no personal knowledge of the underlying conduct.

       In this past presidential election, 147 members of the House and Senate (including 8

Senators (i.e., 7 more than in the 2004 election where Senator Durbin defended Senator Boxer’s

right to object) plus 139 House members) objected to certifying Arizona’s or Pennsylvania’s




9 See Amanda Prestigiacomo, Democrats Objected to Electoral Vote Certification in 2000, 2004,
2016, DAILY WIRE (Jan. 4, 2021) (“‘Some may criticize our colleague from California for bringing
us here for this brief debate,’ Durbin said on the Senate floor following Boxer’s objection, while
noting that he would vote to certify the Ohio electoral votes for Bush. ‘I thank her for doing that
because it gives members an opportunity once again on a bipartisan basis to look at a challenge
that we face not just in the last election in one State but in many States.’”), available at
https://tinyurl.com/yjyw7x83 (last visited Feb. 15, 2022).

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electoral votes.10 And 35 of those members are lawyers (two of whom are former Supreme Court

clerks, Senators Cruz and Hawley, who once were Texas Solicitor General and Missouri Attorney

General, respectively). Are those nearly three dozen lawyer-legislators to be subjected to bar

discipline in their respective States or in D.C., where they typically made media statements, on the

theory that they were lying when they appeared on TV to demand more investigation or make

factual claims? That is unthinkable and would plunge this or any state or local bar deep into purely

political waters, taking it far afield from its traditional compass. No bar, including this one, is

equipped to retry the presidential election and the privileged options debated inside the Executive

Branch or with the President himself in the wake of a truly unique election where standard voting

rules were jettisoned or changed in the wake of the COVID pandemic. See Letter, H. MacDougald

to Chair Thompson (Nov. 5, 2021) (attached as Exhibit 6) (by attaching this letter, the executive

privilege, deliberative process privilege, and attorney-client privilege arguments are incorporated).

       C. Leaked Media Reports of Mr. Clark’s Conduct Reflect That He Held Views
          Generally Consistent with Those of Three Dissenting Supreme Court
          Justices and 18 State Attorneys General.

       The Court should terminate this matter and preclude the Bar from re-litigating the 2020

election by holding there is no colorable discipline case where three Supreme Court Justices and

18 State Attorneys General raised similar questions about the 2020 election’s regularity.

       Most important in that regard is Republican Party of Pennsylvania v. Degraffenreid, 141

S. Ct. 732 (2021). There, Justice Thomas dissented from the denial of certiorari because non-

legislative state officials had changed the statutory rules for federal elections and the appointment

of presidential electors in violation of the Electors and Elections Clauses of the Constitution. See

U.S. Const., art. 1, § 4, cl. 1; art. II, § 1, cl. 2. Justice Alito wrote a separate dissent joined by


10 See Li Zhou, 147 Republican Lawmakers Still Objected to the Election Results After the Capitol
Attack, VOX (Jan. 7, 2021), available as https://tinyurl.com/4v6w229c (last visited Feb. 15, 2022).

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Justice Gorsuch to flag the same infirmity. Both dissents noted the public importance of resolving

the questions presented. If three Justices of the Supreme Court took this view and Mr. Clark is

alleged to have advanced similar views, bar discipline should be out of the question.

       Also relevant, Justices Thomas and Alito dissented in Texas v. Pennsylvania, 141 S. Ct.

1230 (2020), a 2020 election challenge filed by Texas (and later joined by 17 other States) that

complained about similar unconstitutional election-rule changes made in the so-called

battleground States. They would have allowed Texas’s bill of complaint to be filed, potentially

putting the merits of the election challenge before the Supreme Court. And those two Justices,

whatever the Court’s view of their jurisprudence, surely did not act unethically in the Texas case.

Mr. Clark was also entitled to presume, if that is what he did, that 18 State Attorneys General were

presenting good-faith objections and for that reason to press for the President and DOJ to agree

with the position of the State Attorneys General as well. In other words, this Court should not start

down Disciplinary Counsel’s slippery slope lest it find itself necessarily implying that three

Supreme Court Justices and 18 State Attorneys General were all acting beyond the pale of

legitimate legal debate, the judicial canons, and the Model Code of Professional Responsibility.

       This Court should deny enforcement of the subpoena and act now to register its disapproval

of this witch hunt. Doing so would send a strong signal that this Court will not allow the bar

discipline process to be perverted for political ends, or to become a tool of persecution, inflicting

significant legal costs on a former official like Mr. Clark and chilling the public service of those

on either side of the aisle who must come to D.C. to serve varying presidential administrations.

       D. The View That Unlawful Election Procedures Were Used in at Least Some
          States Has Been Vindicated in Several Respects.

       The dogmatic premise of Senator Durbin’s complaint that there were no significant

irregularities in the 2020 election, accepted by ODC as sufficient to docket this case, has been



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refuted by subsequent judicial decisions. In McLinko v. Commonwealth of Pennsylvania, et al.,

No. 244 M.D. 2021, 2022 WL 257659 (Pa. Commw. Ct. Jan. 28, 2022), the Commonwealth Court

of Pennsylvania held that Pennsylvania’s Act 77, allowance of universal mail-in balloting in

Pennsylvania in the 2020 election, was unconstitutional under the Pennsylvania Constitution’s

strict limitations on absentee balloting. Approximately 2.6 million absentee ballots were thus cast

by means held unconstitutional by a Pennsylvania court, well in excess of the margin of Biden

victory.11 McLinko thus bears out the views of Justices Thomas, Alito, and Gorsuch.

       The Wisconsin Supreme Court, in a 4-3 ruling in Trump v. Biden, 394 Wis. 2d 629, 951

N.W.2d 568 cert. denied, 141 S. Ct. 1387 (2021), declined to consider whether drop boxes were

illegal under Wisconsin law. The three dissenters, all writing separately but all joining the other

dissents, concluded in exceptionally strong terms that the drop box procedures in the 2020 election,

used by “hundreds of thousands of voters,” were clearly illegal, also exceeding the margin of

victory. And on January 14, 2022, a Wisconsin trial court ruled that drop boxes were illegal under

Wisconsin law, in apparent accord with the views of the dissenters in Trump v. Biden.12 Of course,

the Judges taking either position were not acting unethically. Being on the losing side in a

controversy, internal or external (but especially internal), does not equate to unethical conduct.

        Additionally, a post-election audit of the 2020 election in Maricopa County, Arizona

conducted by the Arizona Senate found, inter alia. substantial defects in signature verification,

including the presence of 17,322 duplicates (alone exceeding the margin of victory), and



11 See https://tinyurl.com/2p8u55cn (last visited Feb. 15, 2022)

12 Moreover, on Friday, February 11, 2022, the Wisconsin Supreme Court reportedly voted 4-3 the
other way to allow a trial court order banning drop boxes to remain in effect for an April 2022
local election. See Zach Montellaro, Wisconsin State Supreme Court Lets Ban on Drop Boxes Go
Into Effect for Spring Election, POLITICO (Feb. 11, 2022), available at
https://tinyurl.com/y32cy8xc (last visited Feb. 15, 2022).

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intentional and substantial spoliation of digital records on the voting equipment shortly before it

was delivered for forensic examination.13

       While not yet the subject of a judicial decision on the merits, evidence has emerged of a

vast scheme to violate Georgia’s law against ballot harvesting, O.C.G.A. § 21-2-385(a), which was

in effect for the 2020 election. That statute permits only near relatives or cohabitants to mail or

deliver absentee ballots. Strong evidence has emerged since 2020 proving this limitation was

violated on a large-scale basis in Georgia and other battleground States with similar laws.

       An election integrity group, “True the Vote,” has collected cell phone location data in key

election hotspots around the country including Georgia, Arizona, Wisconsin, Pennsylvania, and

Michigan. See Matthew Boyle, Exclusive—True The Vote Conducting Massive Clandestine Voter

Fraud Investigation, BREITBART, available at https://tinyurl.com/3bwujuxv (Aug. 4, 2021) (last

visited Feb. 15, 2022). “[True the Vote’s] document says that [it] has spent the last several months

since late last year collecting more than 27 terabytes of geospatial and temporal data—a total of

10 trillion cell phone pings—between Oct. 1 and Nov. 6 in targeted areas in Georgia, Arizona,

Michigan, Wisconsin, Pennsylvania, and Texas. The data includes geofenced points of interest like

ballot dropbox locations, as well as UPS stores and select government, commercial, and non-

governmental organization (NGO) facilities.” Id.

       As a result of a complaint by True the Vote, the Georgia Secretary of State’s Office is now

investigating the ballot harvesting scheme in Georgia. See John Solomon, Georgia Opens

Investigation Into Possible Illegal Ballot Harvesting in 2020 Election (Jan. 4, 2022), available at



13 See Michael Patrick Leahy, Arizona Senate Report on the Maricopa County Election Audit
Highlights 49,000 Questionable Votes, Asks AG to Investigate, BREITBART (Sept. 25, 2021),
available at https://tinyurl.com/4kh45tup (last visited Feb. 15, 2022). This is the same
investigation that the Biden DOJ’s Civil Rights Division threatened to derail in a letter actually
sent to the State of Arizona. See https://tinyurl.com/2437rmb6 (last visited Feb. 15, 2022).

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https://tinyurl.com/yprpt44m (last visited Feb. 15, 2022). True the Vote has identified a

confidential whistleblower who claims he was paid $10 per ballot he put into dropboxes.

       The expert affidavit of Gregg Phillips, filed April 8, 2021 in Schmitz v. Barron, et al., Fulton

Super. Ct, Civ. A. No. 2020CV342969, describes his geotracking analysis of 1.2 trillion mobile

device signals showing 240 unique devices making multiple runs to and from drop boxes. Mr.

Phillips concludes that “[a]round 7% of the total votes in Fulton County, GA (or 36,000 of the total

votes in Fulton) were influenced by this ballot harvesting scheme after taking into consideration

the amount of targeted devices and the frequency of drop box visits.” Exhibit 7 at ¶ 46. If correct,

this was a systematic violation of O.C.G.A. § 21-2-385(a) and exceeded the margin of victory. See

id. This pattern of conduct is further documented in dropbox surveillance video collected by local

governments and obtained by True the Vote. Filmmaker and conservative commentator Dinesh

D’Souza has announced a movie called “2,000 Mules”. While information on the film is currently

quite limited, the trailer claims to show “never before seen security footage” of ballot harvesters.

The video shows these alleged harvesters (termed “mules” by the filmmakers) stuffing what appear

to be multiple ballots or even sets of ballots into ballot boxes, with some then “snapping photos

[on their phones] to get paid.” https://tinyurl.com/2p86dznj (last visited Feb. 15, 2022).

       There was ample evidence before January 4, 2021 that could cause a reasonable attorney

to be skeptical of some parts of the 2020 election. Further evidence has emerged since then, and

in some States it has even ripened into trial and appellate court decisions revealing that the

elections in Wisconsin and Pennsylvania were conducted unlawfully, at least in part.

                                        CONCLUSION

       ODC has no proper role investigating Respondent here and, at the very least, it should

await the conclusion of federal and state investigations before trying to do so. For the foregoing

reasons, ODC’s motion should be denied and the cross-motion to quash should be granted.


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      Respectfully submitted this 15th day of February 2022.

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                              C E RT I F I C AT E O F S E RV I C E

       I hereby certify that I have on this day served counsel for the opposing party with a copy

of this Response to Motion to Compel and Cross-Motion to Quash by U.S. First Class Mail with

sufficient postage thereon to insure delivery, and by email addressed to:

       Hamilton P. Fox
       D.C. Bar
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       foxp@dcodc.org

       This 15th day of February 2022.


                                             /s/ Charles Burnham

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                               Exh. 1

            Affidavit of Robert N. Driscoll
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                              Exh. 2

            Affidavit of Jeffrey B. Clark
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                                     DCCA NO. 22-BS-0059

                                  DISTRICT OF COLUMBIA

                                     COURT OF APPEALS


 In the Matter of

 CONFIDENTIAL (J.B.C.), ESQ.                              Disciplinary Docket

        Respondent,                                       No. 2021-D193

 A member of the Bar of the District of
 Columbia Court of Appeals


                        AFFIDAVIT OF JEFFREY B. CLARK

       Personally appeared before the undersigned officer, duly authorized to administer oaths,

Jeffrey B. Clark, who, after being duly sworn, testified and stated as follows:

                                                  1.

       My name is Jeffrey B. Clark. I am over the age of 18, suffer no mental imparities. and

have personal knowledge of the following:

                                                  2.

       I am an attorney licensed to practice law in the District of Columbia since 1997. I am

admitted to the bars of the U.S. Supreme Court, the U.S. Courts of Appeal for all Circuits, the

U.S. District Court for Southern District of Alabama, the District of Columbia, District of

Nebraska, and Eastern District of Texas, as well as the Court of Federal Claims. I am the

Respondent in the above-referenced matter.
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                                                  3.

       I was previously represented in this matter by Robert N. Driscoll. However, that

engagement terminated on October 25, 2021. Between October 25, 2021 and mid-January 2022,

I was seeking counsel to represent me in this matter.

                                                  4.

       I began corresponding directly with Hamilton Fox, the D.C. Bar Disciplinary Counsel in

late November 2021 into early December 2022, especially after discovering that emails notifying

me of documents from the DC Bar being available on a file sharing service had been caught in

my spam filter. As a result, I had not received or been able to retrieve the material Mr. Fox's

assistant had been trying to send me. I emailed Mr. Fox about this problem on December 2,

2021, and he replied the same day. See Exh. 1.

                                                  5.

       On December 3, 2021, I tested positive for Covid, and let Mr. Fox know about that via

email shortly thereafter. He very graciously gave me time to recover, which took the month of

December and required a hospital trip to receive monoclonal antibodies.

                                                  6.

       When I had recovered from Covid, I had an email dialog with Mr. Fox and one of his

assistants. Delivery problems persisted such that I did not receive a complete copy of Mr. Fox's

letter transmitting the subpoena and its attachments until January 6, 2022. Mr. Fox and I agreed

that I would respond to the subpoena on January 31, 2022.




                                                 2
       Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 55 of 177




                                                 7.

       At no point did I agree to accept legal service of the subpoena by email.



                                          lark

Sworn to and sj_lusribed b      me, this 15 day of February, 2022.

                                                          KIRAN R. SHRESTHA
Notary Public                                                NOTARY PUBLIC
My commission expires:    6c1 b612,02-3                 COMMONWEALTH OF VIRGINIA
                                                            REGISTRATION #7130618
                                                      MY COMMISSION EXPIRES APRIL 30, 2023




                                                 3
Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 56 of 177




                        Clark Affidavit

                               Exh. 1
                    Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 57 of 177
Subject: RE: [EXT]DC Bar Correspondence
From: Jeﬀrey Clark - To: Phil Fox - Cc: Harry MacDougald - Date: December 2, 2021 at 11:29 AM



Thank you Mr. Fox and I wish you are at your professional best in the argument.

Jeff Clark

From: Phil Fox <      dcodc.org>
Sent: Thursday, December 2, 2021 11:24 AM
To: Jeffrey Clark <
Cc: Harry MacDougald <hmacdougald@ccedlaw.com>
Subject: RE: [EXT]DC Bar Correspondence

I am preparing for an argument at 2:00 today. I have asked my secretary to resend the
material, but I am confident that you have most of it since it is the public record stuff from the
Judiciary Committee. I’ll get back to you after the argument. For future reference, my direct
dial number is 202/454-1728.

From: Jeffrey Clark <
Sent: Thursday, December 2, 2021 11:12 AM
To: Phil Fox <        dcodc.org>
Cc: Harry MacDougald <hmacdougald@ccedlaw.com>
Subject: [EXT]DC Bar Correspondence
Importance: High

Mr. Fox,

Apologies. After I discovered a few days ago that materials from some kind of dropbox-like site were sitting
in my spam folder and emailing with Ms. Thornton, I was hoping to give you a call yesterday, but the January
6 Committee is setting unrealistic deadlines. Despite the fact that my lawyer has a hearing in Atlanta on
Friday, they are insisting on a second deposition on Saturday, and I need to use the time between now and
then to get ready.

Juggling a lot on my end and so don’t have the to-spam emails in front of me but my understanding is that
they indicated the dropbox-type access expired on 11/29. So it would be best if you re-sent them to me, if
that is not too much to ask. Given the spam problem, I authorize you to send anything you need to, to me to
this email address as direct attachments, but maybe with a CONFIDENTIAL header on it, assuming the file
size is not too large that they will go through as ordinary attachments. If there is a file-size issue, please re-
ripen the dropbox-type access but send me an email here, since your test on that (when the sending email
address was yours and not the more general email address) worked, to let me know to check my spam box.
When I can free up some time, I’ll figure out how to put that general address you use to keep confidentiality
into my trusted senders or whatever the Outlook term is for that in the program.

Also, I will need to get separate counsel for this and to contact my malpractice carrier to inquire re how that
works as no claim has ever been filed against me in my 25-year career, so I am not familiar with any of
these processes. My lawyer for the Committee interaction may be able to help me for a bit but I think I
should retain someone who regularly practices ethics law to assist me and that will take some time to find
and get retention/insurance arrangements worked out with, particularly given that the political issues
involved impact the pool of lawyers that I can attract. I’ve copied my lawyer for Committee matters, Mr.
Harry MacDougald here, for the limited temporary purpose of helping me as I search for ethics counsel.

I hope you will bear with me. The legal issues here are far from ordinary.

Thank you very much Mr. Fox.

Respectfully submitted,
             Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 58 of 177
Jeff Clark
Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 59 of 177




                               Exh. 3

         Affidavit of Harry W. MacDougald
      Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 60 of 177




                                    DCCA NO. 22-BS-0059

                                 DISTRICT OF COLUMBIA

                                    COURT OF APPEALS


 In the Matter of

 CONFIDENTIAL (J.B.C.), ESQ.                             Disciplinary Docket

        Respondent,                                      No. 2021-D193

 A member of the Bar of the District of
 Columbia Court of Appeals


                    A F F I D AV I T O F HARRY W. MACDOUGALD

       Personally appeared before the undersigned officer, duly authorized to administer oaths,

Harry W. MacDougald, who, after being duly sworn, testified and stated as follows:

                                                 1.

       My name is Harry W. MacDougald. I am over the age of 18, suffer no mental imparities,

and have personal knowledge of the following:

                                                 2.

       I am an attorney licensed to practice law in the State of Georgia since 1985. I am

admitted to the bars of the U.S. Supreme Court, the U.S. Courts of Appeal for the 11th and D.C.

Circuits, and the Northern and Southern U.S. District Courts in Georgia, and all Georgia trial and

appellate courts. I am a partner in Caldwell, Carlson, Elliott & DeLoach, LLP in Atlanta,

Georgia.

                                                 3.

       I represent the Respondent in connection with the January 6 Select Committee and in

connection with the above-referenced disciplinary matter. I did not begin representing
       Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 61 of 177




Respondent in the above-referenced matter until January, 2022, though I was copied on some

emails between the Respondent and Disciplinary Counsel beginning December 2, 2021 while

Respondent was looking for other counsel to represent him in this matter.

                                                   4.

       At no point did I ever agree on behalf of the Respondent to accept service of a subpoena

from Mr. Fox, nor agree on any due dates for responses to any such subpoena.

                                                   5.

       On the afternoon of January 28, 2022, I had a telephone conversation with Phil Fox, D.C.

Bar Disciplinary Counsel. I told Mr. Fox we would not be producing any documents in response

to the subpoena and whether, in light of that, asked if the Respondent needed to appear at the Bar

offices in response to the subpoena. Mr. Fox replied that Respondent was not required to appear

but that we “would be in court very quickly” on a motion to compel. He indicated that asserting

the act of production privilege would be frivolous and that doing so would not stand Respondent

in good stead when it came time for imposing disciplinary sanctions. He added “I promise you I

will ratchet up” the sanction to be imposed if we asserted the Fifth.

                                                   6.

       At 8:30 PM Friday evening, January 28, 2022, Mr. Fox sent me an email, attached hereto

as Exh. 1, in which he reiterated this threat as follows:

       Just to be clear, because our proceedings are not criminal, if we bring charges, we
       will contend that any assertion of the privilege against self-incrimination can be
       construed against Mr. Clark on the merits and may be considered in aggravation of
       any sanction. We have not yet decided whether to bring charges, but a frivolous
       assertion of the privilege may lead to an additional charge or may the basis of an
       independent specification of charges in the event that we conclude not to bring
       charges on the underlying matters.




                                                  2
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                                                  7.

       On the morning of Saturday February 5, 2022, I received an email from Mr. Fox’s

assistant, Angela Thornton, which attached a letter from Mr. Fox dated February 3, 3022

purporting to transmit his motion to compel and the exhibits thereto. However, Ms. Thornton’s

email included only the letter, and not the motion or any of its exhibits. See Exh. 2.

                                                  8.

       I promptly replied to Ms. Thornton and said that I didn’t see the motion. Ms. Thornton

replied “Motion? No motion with this email, just the letter addressed to you from Mr. Fox.” I

replied as follows:

       The first sentence of the letter says: "Accompanying this letter is a Motion to
       Compel that we filed with the Court of Appeals today.”

       That is the motion after which I am inquiring.

       Thanks for any help you can provide on that.

Id.

                                                  9.

       After about an hour with no response from Ms. Thornton, I emailed her again at 11:05

AM, saying the following:

       Ms. Thornton:

       The letter you sent me this morning from Mr. Fox is dated 2/3, and states it is being
       transmitted to me on 2/3 via email. However, I do not have an email from 2/3 from
       Mr. Fox, or a letter from Mr. Fox sent to me that day, much less a copy of the motion
       it says is enclosed.

       And today, your email transmitting the letter did not include the motion either.

       I did receive some document production via a file share type of thing, but there was
       no motion in there, either.




                                                 3
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        It’s possible I have missed something as I was in court all day Thursday and had
        outpatient surgery yesterday, but searching my emails I don’t have anything from Mr.
        Fox on 2/3. Perhaps someone else in your office sent it?

        In any event, we would appreciate your sending us the motion at your earliest
        convenience and letting me know one way or the other whether I have overlooked its
        prior transmittal from your office.

        Thanks in advance.

Id.

                                                10.

        Ms. Thornton never responded to three emails to her asking for a copy of the motion.

Therefore, at 5:20 PM I emailed this conversation to Mr. Fox, informed him I still did not have

the motion, and asking if he could please email it to me. Mr. Fox responded promptly, and we

exchanged numerous emails on the topic. See Exh. 3. The upshot of those emails was that I

received an email with the motion attached, but never received an email with the exhibits. Mr.

Fox was clearly exerting himself to deliver the documents to me, and indicated he had emailed

the exhibits, but I never got them. He identified the exhibits, which were documents that I

already had. He added that he would send the motion and exhibits via FedEx on Monday. Id. at

p. 2.

                                                11.

        By mid-afternoon Friday February 11, 2022, I still had not received the motion by regular

mail, nor had I received any of the exhibits via email, nor had I received a FedEx delivery as Mr.

Fox had indicated the previous Saturday would be forthcoming. I therefore emailed Mr. Fox to

let him know I still had not received the exhibits and would he mind putting the material on a file

sharing site for download. Mr. Fox replied that he would look into it but “I am pretty sure that we

sent the complete package by FedEx last Monday and that we have the receipt.” See Exh. 4.




                                                4
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                                                  12.

       In response to that information, two assistants and I looked in every office in our firm and

queried everyone in the office but we could not find any such FedEx package. We also had

someone check on the 16th floor of the two other buildings in our office park to seek if perhaps

the package had been misdelivered, but we could not find it that way either. Id.

                                                  13.

       I kept Mr. Fox apprised of these efforts as they unfolded and asked him if he could

identify who had signed for the package, or perhaps give me the tracking number and we would

check that ourselves. Id. At first he indicated that would have to wait until Monday, but among

several emails passing between us that afternoon, Mr. Fox forwarded me the FedEx airbill for the

delivery. See Exh. 5. This email was actually received before my last reply to Mr. Fox asking for

the tracking number in Exh. 4, but I did not see it until after I sent that reply because I was

looking around the office trying to find the package. Once I saw the airbill, which has the

tracking number on it, I entered that tracking number into the FedEx package tracking webpage.

The result was that there was no such tracking number in the FedEx system. I then had two

assistants search for the tracking number on the FedEx website with the same result. I relayed

that information to Mr. Fox. See Exh. 6. For reasons unknown to me, it appears this package

tracking number never made it into the FedEx system.

                                                  14.

       On February 14, 2022, Mr. Fox’s assistant. Ms. Thornton sent me a DropBox link from

which I was able to download Mr. Fox’s letter of February 3, 2022 (which I had first received

February 5, 2022), and the motion with all of its exhibits. This was the first time I had received

the complete package of the motion and all of its exhibits.




                                                  5
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                  MacDougald Affidavit

                               Exh. 1
                    Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 67 of 177
Subject: Re: [EXT]Jeﬀrey Clark
From: Phil Fox - To: hmacdougald@ccedlaw.com - Cc: - Date: January 28, 2022 at 8:30 PM



Just to be clear, because our proceedings are not criminal, if we bring charges, we will contend that any
assertion of the privilege against self-incrimination can be construed against Mr. Clark on the merits and may
 be considered in aggravation of any sanction. We have not yet decided whether to bring charges, but a frivolous
assertion of the privilege may lead to an additional charge or may the basis of an independent specification of
charges in the event that we conclude not to bring charges on the underlying matters.

Get Outlook for iOS

From: Harry MacDougald <hmacdougald@ccedlaw.com>
Sent: Friday, January 28, 2022 3:34 PM
To: Phil Fox
Subject: RE: [EXT]Jeffrey Clark

Any time is fine including tonight or this weekend. My direct rings over to my cell, which is 404-388-8622.

Best,

-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956
Direct: 404-843-4109

From: Phil Fox <       dcodc.org>
Date: January 28, 2022 at 3:32:32 PM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Subject: RE: [EXT]Jeffrey Clark


        I am in the middle of a meeting. How long will you be available?



        From: Harry MacDougald <hmacdougald@ccedlaw.com>
        Sent: Friday, January 28, 2022 3:32 PM
        To: Phil Fox <        dcodc.org>
        Subject: [EXT]Jeffrey Clark



        Mr. Fox:



        Can you give me a call at the number below regarding Mr. Clarke’s response to your subpoena?
        Maybe 5 min.
Thanks.
          Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 68 of 177



-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956

Direct: 404-843-4109
Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 69 of 177




                  MacDougald Affidavit

                              Exh. 2
                   Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 70 of 177
Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary
From: hmacdougald@ccedlaw.com - To: Angela Thornton - Cc: - Date: February 5, 2022 at 11:05 AM



Ms. Thornton:

The letter you sent me this morning from Mr. Fox is dated 2/3, and states it is being transmitted to me on
2/3 via email. However, I do not have an email from 2/3 from Mr. Fox, or a letter from Mr. Fox sent to me
that day, much less a copy of the motion it says is enclosed.

And today, your email transmitting the letter did not include the motion either.

I did receive some document production via a file share type of thing, but there was no motion in there,
either.

It’s possible I have missed something as I was in court all day Thursday and had outpatient surgery
yesterday, but searching my emails I don’t have anything from Mr. Fox on 2/3. Perhaps someone else in your
office sent it?

In any event, we would appreciate your sending us the motion at your earliest convenience and letting me
know one way or the other whether I have overlooked its prior transmittal from your office.

Thanks in advance.

-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956
Direct: 404-843-4109

From: hmacdougald@ccedlaw.com <hmacdougald@ccedlaw.com>
Date: February 5, 2022 at 10:09:17 AM
To: Angela Thornton
Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-D193


       The first sentence of the letter says "Accompanying this letter is a Motion to Compel that we filed
       with the Court of Appeals today.”

       That is the motion after which I am inquiring.

       Thanks for any help you can provide on that.

       -----
       Harry W. MacDougald
       Caldwell, Carlson, Elliott & DeLoach, LLP
       Two Ravinia Drive
       Suite 1600
       Atlanta, Georgia 30346
       404-843-1956
       Direct: 404-843-4109

       From: Angela Thornton <
       Date: February 5, 2022 at 10:07:03 AM
       To: Harry MacDougald <hmacdougald@ccedlaw.com>
       Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-D193


               Motion? No motion with this email, just the letter addressed to you from
   Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 71 of 177
Mr. Fox.



From: Harry MacDougald <hmacdougald@ccedlaw.com>
Sent: Saturday, February 5, 2022 10:06 AM
To: Angela Thornton <
Subject: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-
D193



I don’t see the motion



-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956

Direct: 404-843-4109


From: Angela Thornton <
Date: February 5, 2022 at 9:11:50 AM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Subject: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-D193




      Dear Mr. MacDougald, please see letter attached from Mr.
      Fox, Disciplinary Counsel. If there are questions or concerns,
      please don’t hesitate to let us know. Thank you.


      Regards,


      Angela
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                  MacDougald Affidavit

                               Exh. 3
                    Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 73 of 177
Subject: Re: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket
From: Phil Fox - To: hmacdougald@ccedlaw.com - Cc: - Date: February 5, 2022 at 6:12 PM



The attachments, actually exhibits, are all things you have: the November letter and subpoena to Clark; the
email chain, which is also attached to one of your January 31 letters, about the difficulty we had then in
getting all the materials to Clark; and your letter asserting the Fifth. I will make sure a hard copy of
everything is sent to you on Monday. I don’t understand why we are having such difficulty transmitting this
stuff. We have been doing virtually everything electronically for two years, and I am unaware of any other
case where we have had these problems.

Get Outlook for iOS

From: Harry MacDougald <hmacdougald@ccedlaw.com>
Sent: Saturday, February 5, 2022 6:01:41 PM
To: Phil Fox <      dcodc.org>
Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-D193

I got the email transmitting the motion and saying the attachments would come separately, but haven’t seen
those yet.

-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956
Direct: 404-843-4109

From: Phil Fox <      dcodc.org>
Date: February 5, 2022 at 5:59:48 PM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Cc: Azadeh Matinpour <                            Angela Thornton <                        Jason Horrell
<
Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-D193


       I just resent everything—first the motion and then the motion with the attachments. Nothing
       bounced back. Did you get them?




       From: Harry MacDougald <hmacdougald@ccedlaw.com>
       Sent: Saturday, February 5, 2022 5:39 PM
       To: Phil Fox <      dcodc.org>
       Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-D193



       Thanks - much appreciated.



       Have a good rest of your weekend.



       -----
       Harry W. MacDougald
       Caldwell, Carlson, Elliott & DeLoach, LLP
       Two Ravinia Drive
       Suite 1600
         Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 74 of 177
Atlanta, Georgia 30346
404-843-1956

Direct: 404-843-4109


From: Phil Fox <      dcodc.org>
Date: February 5, 2022 at 5:36:28 PM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No. 2021-D193




     I don’t know without looking, but I am not going to take advantage of your failure to
     receive it.




     From: Harry MacDougald <hmacdougald@ccedlaw.com>
     Sent: Saturday, February 5, 2022 5:35 PM
     To: Phil Fox <      dcodc.org>
     Subject: Re: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No.
     2021-D193



     I received the letter this morning but no motion.



     I know it’s not your job to help me read the rules, but I’ll go ahead and ask - is it
     correct that we have a 7 calendar day response time for responding to motions?



     -----
     Harry W. MacDougald
     Caldwell, Carlson, Elliott & DeLoach, LLP
     Two Ravinia Drive
     Suite 1600
     Atlanta, Georgia 30346
     404-843-1956

     Direct: 404-843-4109


     From: Phil Fox <      dcodc.org>
     Date: February 5, 2022 at 5:32:30 PM
     To: Harry MacDougald <hmacdougald@ccedlaw.com>
     Subject: Re: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary Docket No.
     2021-D193




           It is just the letter and the motion. If I can't get it to you, we will FedEx
           it Monday. I will try again.



           Get Outlook for iOS


           From: Harry MacDougald <hmacdougald@ccedlaw.com>
 From: Harry MacDougald <hmacdougald@ccedlaw.com>
Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 75 of 177
 Sent: Saturday, February 5, 2022 5:28:53 PM
 To: Phil Fox <     dcodc.org>
 Subject: Re: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary
 Docket No. 2021-D193



 No sir, I have not seen it yet. I got this one, but I haven’t seen the other
 one with the motion. I checked my online spam folder as well. Not sure
 what’s going on with that. Is it a particularly large attachment?



 -----
 Harry W. MacDougald
 Caldwell, Carlson, Elliott & DeLoach, LLP
 Two Ravinia Drive
 Suite 1600
 Atlanta, Georgia 30346
 404-843-1956

 Direct: 404-843-4109


 From: Phil Fox <      dcodc.org>
 Date: February 5, 2022 at 5:25:43 PM
 To: Harry MacDougald <hmacdougald@ccedlaw.com>
 Subject: Re: [EXT]Re: in re Clark/Disciplinary Counsel - Disciplinary
 Docket No. 2021-D193




       Did you get the email with the motion that I just sent you?



       Get Outlook for iOS


       From: Harry MacDougald <hmacdougald@ccedlaw.com>
       Sent: Saturday, February 5, 2022 5:20:02 PM
       To: Phil Fox <       dcodc.org>
       Subject: Fwd: RE: [EXT]Re: in re Clark/Disciplinary Counsel
       - Disciplinary Docket No. 2021-D193



       Mr. Fox:



       Please see the correspondence below. No response to three
       emails to Ms. Thornton asking for the motion. I still do not
       have the motion referred to in your letter of 2/3, which I
       just received this morning.



       If you could please send me the motion at your earliest
       convenience, I’d appreciate it.



       Thanks in advance.
Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 76 of 177

      -----
      Harry W. MacDougald
      Caldwell, Carlson, Elliott & DeLoach, LLP
      Two Ravinia Drive
      Suite 1600
      Atlanta, Georgia 30346
      404-843-1956

      Direct: 404-843-4109


      From: hmacdougald@ccedlaw.com
      <hmacdougald@ccedlaw.com>
      Date: February 5, 2022 at 11:05:33 AM
      To: Angela Thornton <
      Subject: RE: [EXT]Re: in re Clark/Disciplinary Counsel -
      Disciplinary Docket No. 2021-D193




            Ms. Thornton:



            The letter you sent me this morning from Mr.
            Fox is dated 2/3, and states it is being
            transmitted to me on 2/3 via email. However, I
            do not have an email from 2/3 from Mr. Fox, or
            a letter from Mr. Fox sent to me that day, much
            less a copy of the motion it says is enclosed.



            And today, your email transmitting the letter did
            not include the motion either.



            I did receive some document production via a
            file share type of thing, but there was no motion
            in there, either.



            It’s possible I have missed something as I was
            in court all day Thursday and had outpatient
            surgery yesterday, but searching my emails I
            don’t have anything from Mr. Fox on 2/3.
            Perhaps someone else in your office sent it?



            In any event, we would appreciate your sending
            us the motion at your earliest convenience and
            letting me know one way or the other whether I
            have overlooked its prior transmittal from your
            office.



            Thanks in advance.
Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 77 of 177
          -----
          Harry W. MacDougald
          Caldwell, Carlson, Elliott & DeLoach, LLP
          Two Ravinia Drive
          Suite 1600
          Atlanta, Georgia 30346
          404-843-1956

          Direct: 404-843-4109


          From: hmacdougald@ccedlaw.com
          <hmacdougald@ccedlaw.com>
          Date: February 5, 2022 at 10:09:17 AM
          To: Angela Thornton <
          Subject: RE: [EXT]Re: in re Clark/Disciplinary
          Counsel - Disciplinary Docket No. 2021-D193




                The first sentence of the letter says
                "Accompanying this letter is a
                Motion to Compel that we filed with
                the Court of Appeals today.”



                That is the motion after which I am
                inquiring.



                Thanks for any help you can provide
                on that.



                -----
                Harry W. MacDougald
                Caldwell, Carlson, Elliott & DeLoach,
                LLP
                Two Ravinia Drive
                Suite 1600
                Atlanta, Georgia 30346
                404-843-1956

                Direct: 404-843-4109


                From: Angela Thornton
                <
                Date: February 5, 2022 at 10:07:03
                AM
                To: Harry MacDougald
                <hmacdougald@ccedlaw.com>
                Subject: RE: [EXT]Re: in re
                Clark/Disciplinary Counsel -
                Disciplinary Docket No. 2021-D193
Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 78 of 177
                    Motion? No motion
                    with this email, just
                    the letter addressed
                    to you from Mr.
                    Fox.



                    From: Harry
                    MacDougald
                    <hmacdougald@ccedla
                    w.com>
                    Sent: Saturday,
                    February 5, 2022 10:06
                    AM
                    To: Angela Thornton
                    <
                    >
                    Subject: [EXT]Re: in re
                    Clark/Disciplinary
                    Counsel - Disciplinary
                    Docket No. 2021-D193



                    I don’t see the motion



                    -----
                    Harry W. MacDougald
                    Caldwell, Carlson, Elliott
                    & DeLoach, LLP
                    Two Ravinia Drive
                    Suite 1600
                    Atlanta, Georgia 30346
                    404-843-1956

                    Direct: 404-843-4109


                    From: Angela Thornton
                    <
                    >
                    Date: February 5, 2022
                    at 9:11:50 AM
                    To: Harry MacDougald
                    <hmacdougald@ccedla
                    w.com>
                    Subject: in re
                    Clark/Disciplinary
                    Counsel - Disciplinary
                    Docket No. 2021-D193



                          Dear Mr.
                          MacDoug
                          ald,
                          please see
Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 79 of 177
                        letter
                        attached
                        from Mr.
                        Fox,
                        Disciplina
                        ry
                        Counsel.
                        If there
                        are
                        questions
                        or
                        concerns,
                        please
                        don’t
                        hesitate to
                        let us
                        know.
                        Thank
                        you.


                        Regards,


                        Angela
Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 80 of 177




                  MacDougald Affidavit

                               Exh. 4
                    Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 81 of 177
Subject: RE: [EXT]Service Copy of Motion
From: Phil Fox - To: hmacdougald@ccedlaw.com - Cc: Angela Thornton - Date: February 11, 2022 at 5:14 PM



That will have to wait until next week.

From: Harry MacDougald <hmacdougald@ccedlaw.com>
Sent: Friday, February 11, 2022 5:13 PM
To: Phil Fox <       dcodc.org>
Subject: RE: [EXT]Service Copy of Motion

I received an email from Ms. Thornton sent at 11 AM transmitting your letter of today’s date and
attachments consisting of correspondence between you and Mr. Weinsheimer dated Feb 7 and 8 respectively,
for which you have my thanks.

If you or Ms. Thornton can give us the tracking number for the FedEx package we can look up who signed for
it.

Both me and my assistant checked all the offices in our suite and asked everyone who is still here and no
sign of it. Our office manager has not seen it either. We also checked the 16th floor of the other two buildings
in our office park and nothing there either - one of them is vacant anyway. There’s no one at home in the
other suites on our floor so we don’t know if it might have gone to one of them by mistake. So the next
available step is to let us know who signed for it or give us the tracking number so we can check ourselves.

Thank you in advance.

-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956
Direct: 404-843-4109

From: Phil Fox <      dcodc.org>
Date: February 11, 2022 at 4:59:31 PM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Subject: RE: [EXT]Service Copy of Motion



       I don’t. Angela might next week. Did you receive the email and attachments that
       we sent you this morning?

       From: Harry MacDougald <hmacdougald@ccedlaw.com>
       Sent: Friday, February 11, 2022 4:58 PM
       To: Phil Fox <      dcodc.org>
To: Phil Fox <     dcodc.org>
          Case 1:22-mc-00096-RC Document 1-40
Subject: RE: [EXT]Service Copy of Motion
                                                            Filed 10/17/22 Page 82 of 177

Do you have a name of who signed for it?

-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956
Direct: 404-843-4109

From: Phil Fox <      dcodc.org>
Date: February 11, 2022 at 4:41:38 PM
To:
Subject: RE: [EXT]Service Copy of Motion




      We’ll look into that, but I am pretty sure that we sent the complete
      package by FedEx last Monday and that we have the receipt.

      From: Harry MacDougald <hmacdougald@ccedlaw.com>
      Sent: Friday, February 11, 2022 4:31 PM
      To: Phil Fox <      dcodc.org>
      Subject: [EXT]Service Copy of Motion

      Mr. Fox:

      While our building’s mail has not yet arrived today (even though it’s a 17 story
      building), I still have not received the mail service copy of your motion to compel,
      and never did receive the emails transmitting the exhibits.

      Would you mind perhaps using a file sharing service like DropBox or the like to get
      the full set to me electronically?

      Thanks in advance.

      -----
      Harry W. MacDougald
      Caldwell, Carlson, Elliott & DeLoach, LLP
      Two Ravinia Drive
      Suite 1600
      Atlanta, Georgia 30346
      404-843-1956
      Direct: 404-843-4109
Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 83 of 177




                  MacDougald Affidavit

                               Exh. 5
                    Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 84 of 177
Subject: FW: In re Clark - DDNo. 2021-D193
From: Phil Fox - To: hmacdougald@ccedlaw.com - Cc: - Date: February 11, 2022 at 4:48 PM, Attachments: 2021-D193 fedex
shipping bill 02072022.pdf


Here is the information about the FedEx shipment. We will still look at an alternative way to
transmit documents.

From: Angela Thornton <
Sent: Monday, February 7, 2022 1:47 PM
To: Phil Fox <        dcodc.org>; Jason Horrell <                                        Azadeh Matinpour
<
Subject: In re Clark - DDNo. 2021-D193

David sent the letter and the motions with all attachments to Resp’s Counsel, via fedex. Fedex
shipping label is attached. It will be delivered tomorrow morning

Angela
Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 85 of 177
Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 86 of 177




                  MacDougald Affidavit

                               Exh. 6
                    Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 87 of 177
Subject: Re: FW: In re Clark - DDNo. 2021-D193
From: hmacdougald@ccedlaw.com - To: Phil Fox - Cc: - Date: February 11, 2022 at 5:30 PM



Phil:

Thank you for sending the FedEx Airbill.

Three people in my office including me and two assistants have put the tracking number from the airbill into
the FedEx tracking number search box and we get this response: "No record of this tracking number can be
found at this time, please check the number and try again later. For further assistance, please contact
Customer Service.”

The airbill is filled out to not require a signature for delivery.



-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956
Direct: 404-843-4109

From: Phil Fox <      dcodc.org>
Date: February 11, 2022 at 4:48:29 PM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Subject: FW: In re Clark - DDNo. 2021-D193


        Here is the information about the FedEx shipment. We will still look at an
        alternative way to transmit documents.



        From: Angela Thornton <
        Sent: Monday, February 7, 2022 1:47 PM
        To: Phil Fox <      dcodc.org>; Jason Horrell <                                   Azadeh Matinpour
        <
        Subject: In re Clark - DDNo. 2021-D193



        David sent the letter and the motions with all attachments to Resp’s Counsel, via
        fedex. Fedex shipping label is attached. It will be delivered tomorrow morning


        Angela
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                  MacDougald Affidavit

                               Exh. 7
Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 89 of 177
Detailed Tracking                          Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 90 of 177                              2/15/22, 10:19 AM



                                                    FRO M                                                          TO

                                           WASHINGTON, DC US                                                     GA US

                                                                                                      MANAGE DELIVERY




                                                                     Travel History        Shipment Facts


                    Travel History

                     TIME ZONE
                     Local Scan Time


                    Tuesday, February 15,
                    2022

                    8:06 AM                                            GA                      Delivered
                                                                                               Package delivered to recipient address -
                                                                                               release authorized

                    6:15 AM                                            MARIETTA, GA            On FedEx vehicle for delivery

                    5:39 AM                                            ATLANTA, GA             At destination sort facility

                    3:48 AM                                            MEMPHIS, TN             Departed FedEx hub

                    12:17 AM                                           MEMPHIS, TN             Shipment arriving On-Time

                    12:05 AM                                           MEMPHIS, TN             Arrived at FedEx hub

https://www.fedex.com/fedextrack/?trknbr=814880136300&trkqual=2459625000~814880136300~FX                                                        Page 2 of 3
Detailed Tracking                          Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 91 of 177                                 2/15/22, 10:19 AM




                        Monday, February 14,
                        2022

                        9:21 PM                                        WASHINGTON, DC                Left FedEx origin facility

                        4:13 PM                                        WASHINGTON, DC                Picked up



                                                                                    Expand History

                    Shipment Facts

                    TR AC KING NU MB ER                                 SERVIC E                                  WEIG HT
                    814880136300                                        FedEx First Overnight                     0.5 lbs / 0.23 kgs


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                    1                                                   0.5 lbs / 0.23 kgs                        Shipper


                    SHIPPER R EFER ENC E                                PAC K AG IN G                             SPEC I AL H ANDLING SECTIO N
                    2621 D193                                           FedEx Envelope                            Deliver Weekday


                    SHIP DATE                                           SHIPMENT-FACTS.C O D-DE TAIL              STANDAR D TR ANSIT
                    2/14/22                                             $0.00                                     2/15/22 before 8:30 am


                    ACTUAL DELIVERY
                    2/15/22 at 8:06 am



https://www.fedex.com/fedextrack/?trknbr=814880136300&trkqual=2459625000~814880136300~FX                                                           Page 3 of 3
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                               Exh. 4

        Senator Durbin Letter to Office of
       Disciplinary Counsel, October 7, 2021
               Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 93 of 177


                   RICHARD J. DURBIN. ILUNOIS. CHAIR
PA'TRICK J. LEAHY. VERMONT           CHARLES E. GRASSL.EV, IOWA
DIANNE FEINSTEIN, CALIFORNIA         LINDSEY O GRAHAM. SOUTH CAROLINA
SHELIJON WHITEHOUSE. RHOOE ISLAND    JOHN CORNYN. TEXAS
ANIY KLOBUCHAR. M INNESOTA           MICHAELS. LEE. UTAH
CHRISTOPHER A. COONS. DELAWARE
RICHARD BLUMENTHAL. CONNECTICUT
MAZIE K. HIRONO. HAWAII
                                     TED CRUZ. TEXAS
                                     BEN SASSE, NEBRASKA
                                     JOSHUA D HAWLEY. MISSOURI
                                                                              tinitcd ~tares ~cnatc
CORY A. BOOKER. NEW JERSEY           TOM COTTON. ARKANSAS                       COMM ITTEE ON THE JUDICIARY
ALEX PADILlA. CALIFORNIA             JOHN KENNEDY. LOUISIANA
JON OSSOFF. GEORGIA                  THOM TILLIS. NORTH CAROLINA
                                     MARSHA BLACKBURN, TENNESSEE
                                                                                WASHINGTON, DC 20510-6275



                                                           Octobe r 7, 2021

     Office of Disciplinary Counsel
     District of Columbi a Court of Appeals
     51 5 5th Street N W
     Building A, Suite 117
     Washington, D.C. 2000 I

     Re:         Request for Disciplinary Investigation of Jeffrey Bossert Clark

     To the Disciplinary Counsel:

             As the Chair of the U.S. Senate Judic iary Committee, I w rite to express my grave concern
     about actions taken by Jeffrey Bassett C lark that may constitute serious professional misconduct
     under the D.C. Rules of Professional Conduct. S ince January 202 1, the Committee has been
     investigating allegations that Mr. Clark a ided then-President Trump's efforts to enlist the U.S.
     Depattment of Justice (DOJ) in overturning the results of the 2020 Presidentia l e lection. After
     months of reviewing documents and interviewing key former DOJ personnel w ith firsthand
     knowledge of Mr. Clark's actions, the Committee has re leased the attached interim staff report
     (the " Report"). Based on the Report's findings, I respectfully request that the Office of
     Disciplinary Counsel open an investigation to determine whether Mr. C lark, who is a member of
     the D.C. Bar, v iolated applicable D.C. Rules of Professiona l Conduct and s hould be subj ect to
     disciplinary action.

              As further detailed in the Report, Mr. C lark attempted to enlist DOJ in President T rump' s
     effo1ts to overturn the results of the presidential e lection w ithout ev idence or legal authority. In
     fu1t herance of this goal, Mr. C lark:

           •     vio lated, blatantly and on multiple occasions, longstanding DOJ po lic ies designed to
                 insulate the Department's investigations and prosecutions from partisan po litical
                 infl uence by meeting w ith President Trump;

           •     continua lly pressed DOJ leadership to public ly announce that there was corruption in the
                 2020 general e lection and to urge swing-state legislatures to convene specia l legis lati ve
                 sessions to appo int a lternate s lates of e lectors, despite be ing repeatedl y to ld by DOJ
                 leadership that his election fraud c laims were baseless and that DOJ lacked legal
                 aut hority to pursue his proposed course of action; and

           •     attempted to coerce then-Acting A ttorney General Jeffrey Rosen into agreeing to his
                 proposals by threatening M r. Rosen w ith the prospect of replacing him as Attorney
                 General.
        Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 94 of 177




       Lawyers adm itted to the D.C. Bar swear an oath "to support the Constitution of the
United States." 1 It should go w ithout saying that attempts to subvert a free and fa ir election do
not support the Constitution.

         T he D.C. Bar defines misconduct as " [a]cts or omissions by an attorney ... which v iolate
                                                                                                 2
the attorney's oath of office or the rules or code of professional conduct currently in effect."
M r. C lark's actions implicate several D.C. Rules of Professional Conduct. First, by using his
official capacity as an Acting Assistant Attorney General to push DOJ to take official action
based on verifiable falsehoods, Mr. Clark appears to have violated Rule l .2(e)'s prohibition
against "counsel[ing] a client to engage, or assist[ing] a c lient, in conduct the lawyer knows is
criminal or fraudulent." While Rule l .2(e) allows " lawyers to discuss the consequences of any
proposed course of conduct w ith a client" and "assist a client to make a good-faith effort to
determine the validity, scope, meaning, or application of the law," M r. C lark's actions do not fit
into this exemption. To the contrary, as the Report demonstrates, he repeatedly pressed DOJ
 leadership to take the extraordinary and unlawful step of intervening in states' appointment of
e lectors based on fa lse c la ims of election fraud. Rule l .O(t) defines knowledge as " actual
 knowledge," which "may be inferred from circumstances." T he American Bar Association' s
Stand ing Committee on Ethics and Professional Responsibility has further c larified that actual
 knowledge "may be inferred from the circumstances, including a lawyer's w illful blindness to or
 conscious avoidance of facts." ABA Forma l Op. 491 (2020). As the Report establishes, Mr.
 C lark should have know n, and was given every opportunity to know, that the election fraud
 c laims he pushed were false.

        Mr. C lark also appears to have violated at least four of the prohibitions in Rule 8.4
regarding professional misconduct. First, the verifiable falsehoods at the core of Mr. Clark' s
efforts implicate Rule 8.4(c)'s prohibition of"conduct involving dishonesty, fraud, deceit, or
misrepresentation." Second, his repeated requests that Acting Attorney General Rosen endorse
these fa lsehoods, and his suggestion that he wou ld decline an offer to replace Rosen as Acting
Attorney General if Rosen agreed to pursue his proposal, implicate Rule 8.4(a)'s prohibition
against knowingly assisti ng or induc ing someone to violate the Rules of Professional Conduct.
T hird, Rule 8.4(e) prohibits a lawyer from " stat[ing] or imply[ing] an ability to influence
improperly a government agency or official," and Mr. Clark attempted to improperly influence
both DOJ's own leadership and several state legis latures. Finally, as a senior DOJ official w ho
sought to improperly use DOJ's law enforcement powers on behalf of a political candidate and to
overturn the election results, the totality of Mr. C lark' s effo11s implicate Rule 8.4(d)'s prohibition
of"conduct that seriously interferes with the administration of justice." Other Rules may be
similarly implicated.

         Mr. C lark' s misconduct does more than speak to his fitness as a lawyer; his activities,
which were pa11 of a broader course of conduct by President Trump and his a llies to overturn the
e lection, have had severe ram ifications for the rule of law. When a government lawyer,

1
  Attorney Oath of Adm ission to the District of Columbia Bar, available at
ht tps://www.dccourts.gov/s ites/defa ult/ fi Jes/divisions pd fs/committee%2 0on%20admiss ions%20 pd f/Attorney Oath
Statement Ro ll of Attorneys.pdf.
2
  Rules Governing the District of Columb ia Bar, Ru le XI, Section 2(b).
      Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 95 of 177




particularly one e ntrusted w ith a high level of leadership in the nation ' s foremost law
enforcement agency, commits serio us vio lations of professional conduct, such actions undermine
the integrity of our justice system and erode public confidence in it. Public confidence is further
eroded when serious misconduct comes to light only to be met w ith no consequences. Therefore,
I submit this letter of compla int to respectfully request that the Office of the Disciplinary
Counsel initiate an investigation and take a ppropriate disciplinary proceedings pursuant to Rule
X I of t he Rules Governing the District of Columbia Bar.

        I appreciate your prompt attention to this sensitive matter. The Committee is available for
further consu ltation as needed.

                                      Sincerely,




                                      Richard J. Durbin
                                      C ha ir, U.S. Senate Committee on the Judiciary




Enclosure

cc:     The Honorable C harles E. Grassley
        Ranking Member, U.S. Senate Committee on the Judiciary
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                               Exh. 5

     Bradley Weinsheimer Letter to Jeffrey B.
              Clark, July 26, 2021
            Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 97 of 177
    ~
    w                                                                    U.S. Department of Justice

                                                                      Office of the Deputy Attorney General

    Bradley Weinsheimer                                                  Washington, D.C. 20530
    Associate Deputy Attorney General

                                                                         July 26, 2021

Jeffrey B. Clark
Lorton, VA
Via email to Counsel

Dear Mr. Clark:

        The Department of Justice (Department) understands that you have been requested by the
U.S. House of Representatives Committee on Oversight and Reform (House Oversight
Committee), and the U.S. Senate Judiciary Committee to provide transcribed interviews to the
Committees relating to your service as Assistant Attorney General for the Environment and
Natural Resources Division and Acting Assistant Attorney General for the Civil Division. In
these interviews, you are authorized to provide information you learned while at the Department
as described more fully below.

           According to information provided to you and the Department by the House Oversight
Committee, its focus is on "examining President Trump's efforts to pressure the Department of
Justice (DOJ) to take official action to challenge the results of the presidential election and
advance unsubstantiated allegations of voter fraud." 1 The House Oversight Committee has stated
that they wish to ask you questions "regarding any efforts by President Trump and others to
advance unsubstantiated allegations of voter fraud, challenge the 2020 election results, interfere
with Congress's count of the Electoral College vote, or overturn President Biden's certified
victory. " 2

        Based upon information provided to you and to the Department from the Senate Judiciary
Committee, the Department understands that the scope of that Committee's inquiry is very
similar to that of the House Oversight Committee. The letter to the Department dated January
23, 2021, explained that the Senate Judiciary Committee is conducting oversight into public
reporting about "an alleged plot between then-President Donald Trump and [you] to use the
Department of Justice to further Trump's efforts to subvert the results of the 2020 presidential
election"-events that the letter described as raising "deeply troubling questions regarding the
Justice Department's role" in those purported efforts. 3 In addition, the Senate Judiciary

1
  Letter from Carolyn B. Maloney, Chairwoman, House Committee on Oversight and Reform, to Jeffrey B. Clark,
June 14, 2021.
z Id.
3
 Letter from Richard J. Durbin et al., Senate Judiciary Committee, to Monty Wilkinson, Acting Attorney General,
Dep't of Justice, January 23, 2021, at I, https://www.judiciary.senate.gov/press/dem/releases/senate-judiciary-
committee-democrats-seek-answers-about-dojs-role-in-trumps-scheme-to-overtum-the-2020-election.
         Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 98 of 177



Committee has represented to the Department that the scope of its interview will cover your
knowledge of attempts to involve the Department in efforts to challenge or overturn the 2020
election results. This includes your knowledge of any such attempts by Department officials or
by White House officials to engage in such efforts. The Committee has further represented that
the time frame for its inquiry will begin following former Attorney General William Barr's
December 14, 2021, resignation announcement.

        Department attorneys, including those who have left the Department, are obligated to
protect non-public information they learned in the course of their work. Such information could
be subject to various privileges, including law enforcement, deliberative process, attorney work
product, attorney-client, and presidential communications privileges. The Department has a
longstanding policy of closely protecting the confidentiality of decision-making communications
among senior Department officials. Indeed, the Department generally does not disclose
documents relating to such internal deliberations. For decades and across administrations,
however, the Department has sought to balance the Executive Branch's confidentiality interests
with Congress's legitimate need to gather information. 4

         The extraordinary events in this matter constitute exceptional circumstances warranting
an accommodation to Congress in this case. Congress has articulated compelling legislative
interests in the matters being investigated, and the information the Committees have requested
from you bears directly on Congress's interest in understanding these extraordinary events:
namely, the question whether former President Trump sought to cause the Department to use its
law enforcement and litigation authorities to advance his personal political interests with respect
to the results of the 2020 presidential election. After balancing the Legislative and Executive
Branch interests, as required under the accommodation process, it is the Executive Branch's
view that this presents an exceptional situation in which the congressional need for information
outweighs the Executive Branch's interest in maintaining confidentiality.

        The Executive Branch reached this view consistent with established practice. Because of
the nature of the privilege, the Department has consulted with the White House Counsel's Office
in considering whether to authorize you to provide information that may implicate the
presidential communications privilege. The Counsel's Office conveyed to the Department that
President Biden has decided that it would not be appropriate to assert executive privilege with
respect to communications with former President Trump and his advisors and staff on matters
related to the scope of the Committees' proposed interviews, notwithstanding the view of former
President Trump's counsel that executive privilege should be asserted to prevent testimony
regarding these communications. See Nixon v. Administrator of General Servs., 433 U.S. 425,
449 (1977) ("[I]t must be presumed that the incumbent President is vitally concerned with and in
the best position to assess the present and future needs of the Executive Branch, and to support

4
  See Letter for Rep. John Linder, Chairman, Subcommittee on Rules and Organization, from Robert Raben,
Assistant Attorney General, Office of Legislative Affairs at 2 (Jan. 27, 2000) ("Linder Letter") ("In implementing
the longstanding policy of the Executive Branch to comply with Congressional requests for information to the fullest
extent consistent with the Constitutional and statutory obligations of the Executive Branch, the Department's goal in
all cases is to satisfy legitimate legislative interests while protecting Executive Branch confidentiality interests.").
                                                           2
        Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 99 of 177



invocation of the privilege accordingly."); see also id (explaining that the presidential
communications privilege "is not for the benefit of the President as an individual, but for the
benefit of the Republic") (internal citation omitted).

        Therefore, given these extraordinary circumstances, including President Biden's
determination on executive privilege, and having reviewed the scope of the Committees'
requested interviews, the Department authorizes you to provide unrestricted testimony to the
Committees, irrespective of potential privilege, so long as the testimony is confined to the scope
of the interviews as set forth by the Committees and as limited in the penultimate paragraph
below. 5 This accommodation is unique to the facts and circumstances of this particular matter
and the legislative interests that the Committees have articulated.

        Consistent with appropriate governmental privileges, the Department expects that you
will decline to respond to questions outside the scope of the interview as outlined above and
instead will advise the Committees to contact the Department's Office of Legislative Affairs
should they seek information that you are unable to provide.

        Please note that it is important that you not discuss Department deliberations concerning
investigations and prosecutions that were ongoing while you served in the Department. The
Department has a longstanding policy not to provide congressional testimony concerning
prosecutorial deliberations. If prosecutors knew that their deliberations would become "subject
to Congressional challenge and scrutiny, we would face a grave danger that they would be
chilled from providing the candid and independent analysis essential to just and effective law
enforcement or, just as troubling, that they might err on the side of prosecution simply to avoid
public second-guessing." Linder Letter. Discussion of pending criminal cases and possible
charges also could violate court rules and potentially implicate rules of professional conduct
governing extra-judicial statements. We assume, moreover, that such Department deliberations
are not within the scope of the requested testimony as defined by the Committees.

        Accordingly, consistent with standard practice, you should decline to answer any such
questions and instead advise the Committees to contact the Department's Office of Legislative
Affairs if they wish to follow up on the questions. Responding in such a way would afford the
Department the full opportunity to consider particular questions and possible accommodations
that may fulfill the Committees' legitimate need for information while protecting Executive
Branch confidentiality interests regarding investigations and prosecutions.




5
 You are not authorized to reveal information the disclosure of which is prohibited by law or court order, including
classified information and information subject to Federal Rule of Criminal Procedure 6(e).

                                                          3
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                               Exh. 6

          MacDougald Letter to Rep. Bennie
          G. Thompson, November 5, 2021
      Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 101 of 177




                                     CALDWELL,                  CAR.LSON,
                                  ELLIOTT         & DELOACH.                LLP

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      W.NN;INr.; PAI\.TNlR                       TWO RAVINIA DflJ\/E                           www.CCEr>law,com
                                                     5UIHl600
                                             ATLANTA. GEORGIA 303,tG


                                               TELEPHONE404·8~3-1956
                                               J;'.CSIMILE404-643-2737




                                            November 5, 2021




Hon. Bennie G. Thompson, Chairman
January 6th Select Committee
U.S. House of Representatives
Longworth House Office Building
Washington, DC 20515


Dear Representative Thompson:

       I have been retained to represent Jeffrey Clark in the investigative matters pending
before your Committee. 1

       Despite disparaging and misleading media narratives, Mr. Clark is not a politician
and has never sought notoriety or press attention beyond what was necessary to
discharge his duties. Indeed, despite serving more than four years during the Bush
Administration's Justice Department from 2001-2005 and more than two years during the
Trump Administration's Justice Department from 2018-2021, he was never once during
those six-plus years of service asked to come before a congressional committee for




1 This letter focuses on the issues surrounding the executive privilege, though there are additional legal
objections, including those of a structural constitutional nature, that we will interpose in good faith as well
to Mr. Clark testifying, should doing so become necessary. We also reserve all of Mr. Clark's individual
rights under the Bill of Rights, though invocation of those rights is also not necessary at this time, as
executive privilege and related privileges should be a sufficient threshold ground not to testify in response
to the subpoena as it is currently framed.
      Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 102 of 177



 CALDWELL.            CARLSON.
   ELLIOTT        &   DELOACH.          LLP


Hon. Rep. Bennie G. Thompson
November 5, 2021
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oversight purposes, even though he litigated and supervised highly controversial cases. 2
He had a winning record, recovered billions of dollars for the fisc, successfully defended
numerous agency rulemakings of extreme complexity, and personally briefed and
argued many cases-exemplary        service. He was confirmed in October 2018 with
bipartisan support in the Senate-just one part of his distinguished 25-year legal career.

       Now, after his most recent, 26-month-plus tenure in government ending in
January 2021, he wants nothing more than to rehun to ordinary life and law practice,
without being subjected to selective anonymous leaks and press attacks. Yet he finds
himself involuntarily caught up in a novel conflict that includes both significant inter-
branch3 and cross-presidential 4 features to whicl1 we must provide a response.

        The main purpose of this letter is this: Because former President Trump was
properly entitled, while he held office, to the confidential advice of lawyers like Mr. Clark,
Mr. Clark is subject to a sacred trust-one that is particularly vital to the constitutional
separation of powers. As a result, any attempts-whether        by the House or by the current
President-to invade that sphere of confidentiality must be resisted. Nothing less will
comport with both Mr. Clark's obligations to former President Trump and· with Mr.
Clark's etl1ical obligations as an attorney. The general category of executive privilege,
the specific categories of the presidential communications, law enforcement, and
deliberative process privileges, 5 as well as atton1ey-client privilege and the work product
doctrine, all harmonize on this point. Most importantly, core matters of constih1tional
principle hang in the balance.


2 For instance, Mr. Clark was integral to defending former President Trump's decision to withdraw from
the Paris Climate Agreement, to resisting improper judicial interference with the Census, to crafting and
then personally defending, in litigation, the first major reform in four decades of the National
Environmental Policy Act's regulations, and to shepherding through the judicial process various agency
actions protecting the southern border with Mexico against incursions. This work was unpopular in some
political quarters but at all times was consistent with law and with his client agencies' policy decisions.
3 A single House of Congress vs. former President Trump.

4 President Biden vs. former President Trump, i.e., the current President vs. the immediately past President.

5 Indeed, Mr. Clark's work was integral to the United States' win in the Supreme Court's most recent
deliberative process case, United States Fish & Wildlife Serv. v. SierraClub, Inc., 141 S. Ct. 777 (2021).
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    Mr. Clark's position as a legal advisor to the President late in 2020 and early 2021 was
particularly sensitive because he was a Senate-confirmed Justice Department leader with
significant high-profile litigation and governmental experience, making it natural for a
President to seek out and consult his views. 6 We trust that members of Congress of all
stripes would agree that it is indisputable that American Presidents need to be able to
consult, as they see fit, with their Senate-confirmed appointees. The principle goes both
ways. Whomever succeeds President Biden, for instance, should not be able to expose to
public scrutiny advice provided to President Biden by his advisors. Establishing
precedent to the contrary would deeply chill the vigorous Executive Branch and energetic
President the Founders envisioned. See Federalist Paper No. 70 (Hamilton) (Mar. 18,
1788) ("Energy in the executive is a leading character in the definition of good
government."), availableat https:1/tinynrl.com/ ep7fhz9. Without that energy and ability
to be candid, presidential advisors would be reduced to bland, tasteless creatures, and
the prospect of innovative advice would be stifled.

       For these reasons, as amplified below, and with due respect to the Committee, Mr.
Clark has come with me today, to present this letter of objection. Mr. Clark will, of course,
abide by a future judicial decision(s) appropriately governing all underlying disputes
with finality, but for now he must decline to testify as a threshold matter because the
President's confidences are not his to waive.

       1.     Since August 2, 2021, when a pivotal letter was sent on behalf of former
President Trump to Mr. Clark (Attachment), there have been several cardinal
developments:

    (1) On September 23, 2021, this Committee subpoenaed senior White House officials
    Mark Meadows and Daniel Scavino, senior Pentagon official Kashyap Patel, and



6 Beginning in November 2018, Mr. Clark headed one of the Justice Department's seven litigating Divisions
(the approximately 112 year-old Environment & Natural Resources Division, which has existed for most of
the 151 years of the Justice Department's history). And later, in light of his excellent service in the
Environment Division during the last Administration, Mr. Clark was also tapped by the Attorney General
in the Fall of 2020 to run a second of those seven litigating Divisions as the Acting Assistant Attorney
General for the Civil Division.
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    Stephen Bannon, making especially clear to Mr. Clark that executive privilege had
    been invoked in light of the violation of a condition set forth in the August 2, 2021,
    letter from former President Trump's counsel, as explained in more detail below;

    (2) On or about October 7, 2021, former President Trump invoked executive privilege
    and instn1cted these four presidential advisors not to comply with the Committee's
    requests/

    (3) Additionally, on September 29, 2021, the Committee had subpoenaed 11 other
    individuals to appear for questioning; and, most importantly,

    (4) The former President took the critical step of bringing suit against the Committee,
    among others, in Trump v. Thompson, Civ. A. No. 21-2769 (0.0.C. Oct. 18, 2021). In this
    case, President Trump asserts executive privilege and is objecting to the Committee's
    request to the Archivist of the United States to produce records of his administration.

       The August 2 letter from your former colleague, Georgia Congressman Douglas A.
Collins, stated to Mr. Clark that "President Trump continues to assert that the non-public
information the Committees seek is and should be protected from disclosure by the
executive privilege," and that this "executive privilege applicable to communications
with President Trump belongs to the Office of the Presidency, not to any individual
President, and President Biden has no power to unilaterally waive it." Attachment at 1.

        The Collins letter also quoted the Supreme Court's recognition that "the privilege
is not for the benefit of the President as an individual, but for the benefit of the Republic."
Id. (quoting Nixon v. Administrator of Gen. Servs., 433 U.S. 425,449 (1977)). That decision
provides that the purpose of the privilege is to "give his advisers some assurance of
confidentiality," so that the "President [can] expect to receive the full and frank
submission of facts and opinions upon which effective discharge of his duties depends."
Id. Additionally, the August 2 letter noted that an earlier July 26, 2021 letter to Mr. Clark

7 See Jacqueline Alemany, et al., Trump Lawyer Tells FormerAides Not to Cooperatewith Jan. 6 Committee,
WASH.PosT(Oct. 7, 2021),availableat htt-ps://1 ~ .washingtonppsl.com/politics/2021/l0/07/trump-l;:iwyer-
tcll~tQ.tmcr-ai - , t- op cral -wilh-'sin-6-comrniltcc/.
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from the current Justice Department had selectively edited a quotation out the Nixon
decision, leaving off the key sentence that "the privilege survives the individual
President's tenure." Attachment at 2 (quoting Nixon, 433 U.S. at 449) (emphasis added).
See also Prof. Saikrishna Prakash, Trump Is Right: FormerPresidentsCan Assert Executive
Privilege,Wash. Post. (Oct. 29, 2021), availableat https://tinyurl. om/yl cpz94w.

        I concur with that assessment by the former President and his counsel. Were any
successor occupant of the office of President able to waive claims of executive privilege
asserted by his or her predecessors, the principal purpose of the privilege would be
defeated, to the detriment of the Executive Branch, to the separation of powers, and to
the proper functioning of government as envisioned by the Constitution, relevant judicial
precedent, and long traditions of inter-branch accommodation. This is particularly true
when, as here, President Biden's purported waivers over recent months may have been
informed by partisan political purposes. This is suggested by the haste with which Mr.
Biden prejudged Mr. Bannon' s invocation of the privilege on behalf of former President
Trump. 8 Executive privilege has fundamental importance to and constitutional
significance in the operation of government. Waivers of executive privilege should
therefore be considered only with a gravity and solemnity commensurate with their
deployment, and should not be influenced by workaday political grievances or by
grudges lingering from past political controversies, even bitter ones.



8 See Katherine Fung, Biden's Comments Could Fumble DOJ Prosecution of Steve Bannon: Here's How,
NEWSWEEK       (Oct. 21, 2021) ("referring to those, like Bannon, who have refused to comply with the subpoena
to testify before the January 6 committee [and] asked if they should face prosecution, Biden said, 'I do,
yes."'); Donald Judd & Rachel Janfaza, Biden Says DOJ Should Prosecute Those Who Defy January 6 Committee
Subpoenas, CNN (Oct. 16, 2021) (same); see also id. (quoting Press Secretary Jen Psaki as arguing, contrary to
law, that ultimate decisions would be made by the Justice Department because "[t]hey're an independent
agency .... "), available at httJ_2s:/lw....rw.ncwswcck.com/biJcns-commcnts-cou..ld-fumblc-doj-P-rosccution-
steve-bannon-hcres-how-1641428. While President Biden later acknowledged he had been wrong to make
the statement, the damage in the public mind had already been done. See Kaanita Iyer, Biden Says He Was
Wrong to Suggest Those Who Defy Subpoenas from January 6 Committee Should Be Prosecuted, CNN, available at
b..liP-s://edilion.cnn.com/?021 /J 0/21/politics/january-6-,ioc-bidcn-town-hall/indcx.html (Oct. 22, 2021). For,
as the Committee is aware, the President is the chief law enforcement officer of the United States and the
Constitution does not mention the Attorney General by name. The Constitution simply contemplates that
there will be a "principal Officer in each of the executive Departments." U.S. Const. art. II, sec. 2. Nor do
any statutes establish the Department of Justice as an "independent agency."
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        2.     Other former Department of Justice officials who received the Collins letter
have apparently interpreted its concluding paragraph to mean that the former President
had waived the privilege on a blanket basis or somehow otherwise greenlighted their
testimony to Committees looking into assertedly similar issues prior to this Committee
beginning its work. We disagree with that interpretation. No fair reading of the Collins
letter can conclude that it waives any privileges as to an official like Mr. Clark, especially
after the key contingency set out in the letter had been triggered:

   Nonetheless, to avoid further distraction and without in any way otherwise
   waiving the executive privilege associated with the matters the executive
   privilege associated with the matters the Committees are purporting to
   investigate, President Trump will agree not to seek judicial intervention to
   prevent your testimony or the testimony of the five other former Department
   officials ... who have already received letters from the Department similar to
   the July 26, 2021 letter you received, so long as the Committees do not seek
   privileged information from any other Trump administration officials or
   advisors.

Attachment at 2 (emphasis added). The condition in the emphasized language has been
triggered because the Committee sought privileged information from multiple other
Trump administration officials or advisors before Mr. Clark was subpoenaed on October
13, 2021.

        Our position is simple and is dictated by the plain text of the letter. The Collins
letter does not waive privilege as to Mr. Clark. Even before the contingency triggered by
your Committee seeking information from other Trump Administration officials had
occurred, at best the Collins letter indicated that former President Trump would agree
himself not to seek judicial intervention on the pre-contingency state of the facts. That is
not remotely the same as authorizing testimony or waiving executive privilege. All
portions of the Collins letter prior to the concluding paragraph clearly invoked privilege.
Nor could Mr. Collins' indicating that the former President would not file suit at an
earlier time act to relieve Mr. Clark of his ethical obligations.

       And surely, once the Committee issued subpoenas to Messrs. Meadows, Scavino,
Patel and Bannon on September 23, the assertion of executive privilege set forth in all of
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the other paragraphs of that letter applied with special force to Mr. Clark. This is because
Congress has, in fact, sought privileged information from Messrs. Meadows, Scavino,
and Patel as they are all, no doubt, "other Tn1mp administration officials." In short, even
former President Trump's statement that he would not go to court in August 2021 was
expressly conditional, and the Committee's issuance of the Meadows, Scavino, and Patel
subpoenas has caused the failure of that condition. Therefore, especially after the
triggering of the contingency, the letter simply cannot be read as an unconditional waiver
as to Mr. Clark or the others named in the final paragraph.

        Accordingly, particularly under the present circumstances, the Collins letter
expressly informs Mr. Clark that President Trump is asserting and not waiving executive
privilege with respect to the Committee's pursuit of information from Mr. Clark.
President Trump's assertion of his privileges with respect to the Committee's subpoena
to Mr. Clark is confirmed in Trump v. Thompson,et al, U.S.D.C. D.C. 1:21-cv-02769-TSC,
by footnote 2 of his brief in support of ~s application for a preliminary injunction:

   The Committee also sought testimony and documents from several individuals,
   some of whom were serving in the Trump Administration in January and others
   who were not. To preserve all privileges applicable to him and the Presidency,
   President Trump sent a letter to a number of these individuals, instructing them
   to preserve any and all relevant and applicable privileges, including without
   limitation the presidential communications and deliberative process privileges
   and attorney-client privilege, all to the extent allowed by law.

Id., Doc. 5, p. 1, n.2. The Committee of course has actual notice of this contention since it
is a party to that litigation.

       Mr. Clark thus has no choice but to comply with President Trump's assertion of
executive privilege and related privileges.

       3.     Since September 7, 2021, staff on the Select Committee has been in contact
with Mr. Clark's former attorney, Robert Driscoll, about the possibility of Mr. Clark
giving a transcribed interview to the Committee regarding communications with and
advice given to former President Tn1mp during the last few months of his
Administration.
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        In good faith and while he was engaging in legal research and keeping apprised
of related actions by the Committee and other parts of Congress, Mr. Clark had been
requesting and reviewing documents from the Department of Justice pursuant to 28
C.F.R. § 16.300. And, if the federal judicial system orders Mr. Clark directly or produces
final and clearly applicable precedent in (a) related case(s) indicating that Mr. Clark must
testify, he would resume that process consistent with other legal strictures. But in line
with our research and study, events subsequent to September 7 have convinced me that
the only proper course of action for Mr. Clark now is to stand on the privilege position
articulated to him on August 2 by former President Trump and affirmed in his October
19, 2021 filing in Trump v. Thompson.

       This is for three reasons: (1) first and foremost because former President Trump,
as noted, took heavy step of invoking the privilege in federal court litigation on October
18 against the Committee in its official capacity, indicating that the inter-branch
accommodation process had broken down; (2) because the September 23 subpoenas to
Messrs. Meadows, Scavino, and Patel unmistakably triggered the contingency in the
Collins letter, seemingly removing the basis for any potential accommodation agreement
with the Committee premised on it cabining the scope of its inquiry; and (3) because the
former President acted to invoke the privilege as to those advisors and Mr. Bannon.

        4.     I am aware that other former top officials in the Department of Justice have
provided testimony to Congress, despite the former President's assertion of privilege and
despite the failure of the conditions in the Collins letter. As the privilege was not theirs
to waive, at least without greater clarity (such as a court order with finality or a
comprehensive arrangement entered into between former President Trump and
Congress, where the latter agreed not to seek "privileged information from any other
Trump administration officials or advisors"), it is unclear to me how their testimony
could be consistent with former President Trump's assertion of executive privilege.
Former President Trump holds that privilege, not them. Be that as it may, in the present
circumstances, the fact that other former officials may have testified, rightly or wrongly
at the time, does not cl1ange Mr. Clark's obligations in light of the recent positions taken
by former President Trump in the Collins letter and in Trump v. Thompson. Indeed, D.C.
Bar Ethics Opinion #288 has advised that, even in response to a congressional subpoena
(and therefore, by parity of reasoning, in response to a voluntary request as well), a
"lawyer has a professional responsibility to seek to quash or limit the subpoena on all
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available, legitimate grounds to protect confidential documents and client secrets." See
also American Bar Association's Committee on Ethics and Professional Responsibility,
Formal Opinion 94-385 (1994).

        It is improper to put Mr. Clark in a vise between this Committee and its claimed
enforcement powers on the one hand and his constih1tional and ethical obligations on the
other, especially while there is a pending lawsuit to determine President Trump's
privilege objections. To apply such pressure to Mr. Clark is to present him with a
potential Hobson' s choice in a manner not countenanced by the long history of inter-
branch accommodation over Congressional requests for information from the Executive
Branch. The Constitution is the ultimate source of our law and this Committee is bound
to respect government-wide constitutional boundaries, including respecting the
prerogatives of the coequal Executive Branch.

       Additionally, the claim made by Senate counsel at the outset of the relevant
testimonies of at least one of these other Department of Justice officials, namely, that the
Collins letter was a "letter of nonobjection ... on behalf of former President Trump," 9 if it
were ever correct there (and it is not because nothing in the letter waives privilege or
states a general principle of non-objection), is obviously incorrect as to Mr. Clark at the
present time. The Collins letter quite explicitly (1) asserts that the former President has
not waived claims of executive privilege; (2) asserts the privilege; and (3) at most, even
from this Committee's potential perspective, fixes conditions that as to Mr. Clark are no
longer met.

       In light of the foregoing, I have advised my client that, at this time and based on
these most up-to-date factual developments, he is duty-bound not to provide testimony
to your Committee covering information protected by the former President's assertion of
executive privilege. Accordingly, beyond showing up today to present this letter as a
sign of his respect for a committee of the House of Representatives, albeit one not formed
in observance of the ordinary process of minority participation, Mr. Clark cannot answer
deposition questions at this time. No adverse inferences can or should be drawn from
Mr. Clark accepting my advice. His doing so defends the Republic's interest in the


9 Transcript, available at https://w\   w.judicic1ry.scnate.gov/imo/111t.;dic1/tloc/R lswi"l,,20Transcripl.ptlf   at 6-7
(Aug. 7, 2021).
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separation of powers. As noted, Mr. Clark is not a politician but he is a strong defender
of the Constitution, stemming from his political beliefs as an unapologetic conservative-
beliefs protected by the First Amendment.

       5.    In addition to the foregoing, I must also point out that the vast majority of
the document requests in the subpoena sent to Mr. Clark are duplicated in the requests
for documents sent by the Committee to the National Archives presently at issue in the
Trump v. Thompsonlitigation. It is entirely proper, therefore, to defer compliance with the
Committee's subpoena to Mr. Clark until that litigation is resolved.

       Moreover, the documents subpoenaed from Mr. Clark are instead largely in the
possession of the Department of Justice or the Archives. Mr. Clark left his work papers at
the Department of Justice when he resigned in anticipation of the January 20, 2021
inauguration of President Biden. Based on prior actions, beginning with those of the
House Oversight Committee, we also believe that your Committee has access to Mr.
Clark's government records, making the imposition on us of organizational work, such
as Bates-stamping documents, unduly burdensome. If the Committee could please
confirm this one way or the other, it may obviate any claim of demonstrably critical need
for Mr. Clark to re-produce documents the Committee already has, should that become
necessary at some fuhue point.

       6.       Accordingly, I respectfully urge the Committee to recognize that the best
and most regular course in light of the latest developments would be to pause the request
for the testimony of Mr. Clark (likely along with the requests for the testimony of Messrs.
Meadows, Scavino, and Patel, who would seem similarly situated) pending resolution of
the Trump v. Thompsonlitigation. That will provide important guidance from the Article
III branch of government to referee this inter-branch dispute, including, among other
things, the entwined issue of whether the current President can purport to waive the
former President's executive privilege over the former President's objection. As Justice
Powell remarked in concurrence in Nixon, "[t]he difficult constih1tional questions lie
ahead." 433 U.S. at 503. See also id. at 491 (Blackmun, J., concurring) (noting that
historically some presidential transitions had been "openly hostile," and hoping that the
stah1te under consideration there "did not become a model for the disposition of the
papers of each president who leaves office at a time when his successor or the Congress
is not of his political persuasion."). A pause, as we here request, would also show proper
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comity both to Executive Branch's interests (considered holistically and not as defined
myopically to embrace only the views of the current President) and to the Judicial
Branch's role in resolving cases and controversies. As Nixon indicates, "[t]he
confidentiality necessary to this exchange [of advice and confidences between a President
and an advisor] cannot be measured by the few months or years between the submission
of the information and the end of the President's tenure; the privilege is not for the benefit
of the President as an individual, but for the benefit of the Republic." 433 U.S. at 449.

         7.       I am also compelled to note the disconnect between the scope and purpose
of the Committee's authorizing resolution and the information sought from Mr. Clark.
The Committee's scope revolves around events at the Capitol on January 6, 2021. The
Committee would not appear to be seeking to question Mr. Clark about January 6, 2021
and no media reporting has connected him to those events. Mr. Clark had nothing to do
with the January 6 protests or the incursion of some into the Capitol. He has informed
me he worked from home that day to avoid wrestling with potential street closures to get
to and from his office at Main Justice. Nor did Mr. Clark have any responsibilities to
oversee security at the Capitol or have the ability to deploy any Department of Justice
personnel or resources there. Indeed, Acting Attorney General Rosen testified almost 6
months ago that a January 3, 2021 Oval Office meeting involving him and Mr. Clark, inter
alia, did not relate to January 6. See House Oversight and Reform Committee Holds
Hearing          on      Jan.     6     Riot     at     U.S.     Capitol,    available   at
htl-p·://...,vv,.rw.yutub •.com/watch?v=719UGi8d ng, beginning at circa the one-hour, 15-
minute mark (Rep. Connolly) (streamed May 12, 2021).10 That should alone be sufficient
for Mr. Clark to be excluded from a January 6 inquiry.

       Indeed, just about a week after January 6, Mr. Clark gave an "exit interview" to a
reporter for BloombergLaw that condemned the individuals who forcibly went into the
Capitol and engaged in violence, noting that some of them may have been moved by mob
psychology (Mr. Clark specifically remembers referencing Gustave Le Bon), besmirching
by mere association the far more numerous peaceful protesters exercising their First


10Q. Rep. Connolly: "Did you meet with the President at the White House on January 3rd?" A. Former
Acting AG Rosen: "I did." Q. Rep. Connolly: "You did, but you decline to tell us what the nature of that
conversation was about, is that correct?" A. Former Acting AG Rosen: "I can tell you it did not relate to
the planning and preparations for the events on January 6th."
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Amendment rights. As a clear example of mainstream media bias, however, the report
later published about that interview omitted Mr. Clark's remarks on January 6, even
though the reporter had repeatedly sought Mr. Clark's views on the topic during the
course of the interview. 11

       For all of these reasons, the information and testimony sought by the Committee
as applied to Mr. Clark in particular are outside the scope of the Committee's charter and
are neither proper subjects of the Committee's subpoena, nor any subsequent attempt to
enforce the subpoena.

       Finally, I would kindly request a response to the objections set out in this letter,
which may include a proposal to me by the Committee as to a more limited scope of
inquiry narrowed to January 6-something that I would be happy to engage on to try to
reach an agreement. And for the avoidance of all doubt, we reiterate that, during
continued discussions and at all times, we reserve all other objections as may be
applicable under the circumstances. See supra n. l.




Enc.
cc:     Jeffrey Bossert Clark




11 See Ellen Gilmer,Top OfficialSteps Downfrom DOf's Environment, Civil Divisions, BLOOMBERG LAW (Jan.
14, 2021), available at hllps://n • ?,blo mbcrglaw.com/whik'-( llrlr-c1nd- riminr1l-law/top-officir1l-stt;ps-
down-frorn-do:   -cnvironn c.nt-civil-divisions?ct   I tcxL=<1rt·ilc-rclat   d.
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From: Doug Collins <doug@norlhgeorgialawyers.com>
Date: August 2, 2021 at 6:20:20 PM EDT
To: Driscoll, Robert <rdriscoll@mcglinchey.com>
Subject: Letter for Mr. Jeff Clark

Pleasefind the attached letter for your client Mr. Jeff Clark.

Thank you for your cooperation.

Douglas A. Collins
Oliver & Weidner, LLC
854 Washington St. Suite 300
Clarkesville, GA 30523
706-754-9000
NorthGeorgiaLawyers.com


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                                                    NorthGeorgiaLawyers.com


                                                         August 2, 2021


            Mr. Jeff Clark:

                    We represent former President Donald J. Trump and write concerning requests sent to
            you by the U.S. House of Representatives Committee on Oversight and Reform and the
            U.S. Senate Judiciary Committee to provide transcribed interviews on matters related to your
            service as Deputy Attorney General and Acting Attorney General during President Trump's
            administration. We also understand that, as set forth in its July 26, 2021, letter to you, the U.S.
            Department of Justice stated that President Biden decided to waive the executive and other
            privileges that protect from disclosure non-public information concerning those matters and has
            authorized you to provide such information.

                    Please be advised that the Department's purported waiver and authorization are unlawful,
            and that President Trump continues to assert that the non-public information the Committees
            seek is and should be protected from disclosure by the executive privilege. The executive
            privilege applicable to communications with President Trump belongs to the Office of the
            Presidency, not to any individual President, and President Biden has no power to unilaterally
            waive it. The reason is clear: if a President were empowered unilaterally to waive executive
            privilege applicable to communications with his or her predecessors, particularly those of the
            opposite party, there would effectively be no executive privilege. To the extent the privilege
            would continue to exist at all, it would become yet another weapon to level the kind of
            unjustifiable partisan political attacks the Democrat-controlled administration and Committees
            are seeking to level here.

                    As the Supreme Court held in Nixon v. Administrator of General Services, 433 U.S. 425
            (1977) - where, like here, the then-current administration did not support a former President's
            asse1tion of executive privilege - the executive privilege is crucial to Executive Branch decision-
            making:

                        Unless [the President] can give his advisers some assurance of confidentiality, a
                        President could not expect to receive the full and frank submissions of facts and
                        opinions upon which effective discharge of his duties depends. The confidentiality
                        necessa1y to this exchange cannot be measured by the few months or years
                        between the submission of the information and the end of the President's tenure;
                        the privilege is not for the benefit of the President as an individual, bul for the
                        benefit of the Republic.
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Nixon v. Administrator of General Services, 433 U.S. 425, 448-49 (1977). The Depattment's July
26 letter to you quoted this decision but left out the very next sentence in the opinion: "Therefore,
the privilege survives the individual President's tenure." Id. at 448-49 (quoting, and adopting,
Brief for the Solicitor General on Behalf of Federal Appellees) (emphasis added).

        Here, it is clear that even though President Biden and the Department do not know the
nature or content of the non-public information the Committees seek, they have not sought or
considered the views of the President who does know as to whether the confidentiality of that
information at issue should continue to be protected. Such consideration is the minimum that
should be required before a President waives the executive privilege protecting the
communications of a predecessor. See Office of Legal Counsel Memorandum on Applicability
of Post-Employment Restrictions in 18 U.S.C. § 207 to a Former Government Official
Representing a Former President or Vice President in Connection with the Presidential Records
Act, June 20, 2001, at 5 ("[A]lthough the privilege belongs to the Presidency as an institution
and not to any individual President, the person who served as President at the time the
documents in question were created is often particularly well situated to determine whether the
documents are subject to a claim of executive privilege and, if so, to recommend that the
privilege be asserted and the documents withheld from disclosure.").

        Nonetheless, to avoid further distraction and without in any way otherwise waiving the
executive privilege associated with the matters the Committees are purporting to investigate,
President Trump will agree not to seek judicial intervention to prevent your testimony or the
testimony of the five other former Department officials (Richard P. Donoghue, Patrick
Hovakimian, Byung J. "BJay" Pak, Bobby L. Christine, and Jeffrey B. Clark) who have already
received letters from the Department similar to the July 26, 2021 letter you received, so long as
the Committees do not seek privileged information from any other Trump administration
officials or advisors. If the Committees do seek such information, however, we will take all
necessary and appropriate steps, on President Trump's behalf, to defend the Office of the
Presidency.
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                               Exh. 7

      Expert Affidavit of Gregg Phillips, from
        Schmitz v. Barron, Fulton County,
         Georgia Superior Court Case No.
                  2020CV342969
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IN THE SUPERIOR COURT OF FULTON COUNTY
                                            STATE 0F GEORGIA
WARREN M. SCHMITZ, JR.,                            )
                                                   )
               Plaintiff,                          )
                                                   )        Civil Action File No.
v.                                                 )
                                                   )        2020CV342969
RICHARD L. BARRON, IN HIS    )
OFFICIAL CAPACITY AS FULTON )
COUNTY DIRECTOR              )
REGISTRATION & ELECTIONS AND )
FULTON COUNTY BOARD OF       )
REGISTRATION AND ELECTIONS, )
                                                   )
               Defendants.                         )
                                                   )

          AFFIDAVIT OF GREGG PHILLIPS IN SUPPORT OF VERIFIED AMENDED
           PETITION TO CONTEST RESULTS OF HOUSE DISTRICT 52 ELECTION

               Personally appeared before me, the undersigned notary public, duly authorized by law to

administer oaths, Gregg Phillips, who being duly sworn, deposes and states as follows:

                                                       l.

               My name is Gregg Phillips.

                                                       2.

               I am over the age of 21 years, and I am under no legal disability which would prevent me

from giving this testimony. I have personal knowledge of the facts recited herein.

                                                       3.

               This Afﬁdavit is given in support of the Veriﬁed Amended Petition to Contest Results of

House District 52 Election ﬁled in the above-styled action on November 25, 2020 (the “Petition”).

                                                       4.




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               I have personal knowledge of the facts contained in this Afﬁdavit, and am legally


competent and can testify to such facts.




                                                        5.


               Rep. Deborah Silcox and Shea Roberts competed in the November 3, 2020 General

Election for HD 52 (the “Election”). The certified totals of the Election showed Ms. Roberts ahead

by 377 votes, with a ﬁnal tally of 17,069 votes for Ms. Roberts and 16,692 for Rep. Silcox.

                                                        6.

               I own a data security company called OpSec Group where I am the managing partner. In


addition, I am the CEO and Founder of CoverMe Services, a Georgia based healthcare technology

company focused on the use of complex algorithms in healthcare ﬁnance.

                                                        7.

               I have more than three decades of experience administration, program integrity, project


management, healthcare, elections, and data driven decision making.

                                                        8.


               My company has developed formulas to assess the ﬁt, risk and reliability of data analytics

across multiple industries.

                                                        9.


               My group and I use detailed analytical approaches to investigate complex issues, evaluate

the risk in decisions, and build measured solutions.

                                                        10.

               We observe, research and interpret results using applications and data known to law

enforcement, program integrity, quality control, and election professionals.




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                                                        11.


               My approach to analytics is measured and balanced and common practice in this industry.

                                                        12.


               I am an expert in using large data sets in ﬁ'aud control, quality control and identity


resolution in voting related cases and analysis.

                                                        13.


               Previously, I have testiﬁed in 10 trials as an expert witness. Our approach and algorithms

have been used in high proﬁle voter rights cases argued in the Supreme Court of the United States.

In addition, our methods and algorithms have been used in the resolution of 43 million individual

cases.

                                                        14.


               I am not being compensated nor have been offered anything of value in exchange for this

afﬁdavit or potential testimony.

                                                        15.


               In November, the OPSEC team developed a hypothesis that ballot trafﬁcking is occurring

in relation to certain non-proﬁt organizations and drop boxes in Georgia.

                                                        16.

               OPSEC purchased commercially available data worth approximately $200,000.00 for use

in the analysis performed.

                                                        l7.

               I leveraged commercially available historic and near real time behavioral mobility data to

assist a client organization, True the Vote, in analyzing patterns of election fraud in the form of

ballot harvesting in key battleground states, including Georgia.




(00594334. )




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                                                        18.


               Speciﬁcally, I used commercially available data, in addition to proprietary formulas,

algorithms, and intellectual property developed by me.

                                                        19.

               From this data and that gathered through our research, I was then able to develop and test

the hypothesis to reach the conclusions.

                                                        20.

               First, I geofenced all 27 identiﬁed organizations ofﬁces back to October 1, 2020 and

harvested all devices observed on or near the premises inside the geofences established by our

analytical team.

                                                        21.

               Then, I observed 1.2 trillion mobile device signals over a period of 97 days from 10/1/2020

through 1/5/2021.

                                                        22.

               To execute this project, I processed 25 terabytes of raw data in order to harvest 17,000

unique mobile devices.

                                                        23.

               From the 17,000 unique mobile devises, I was further able to pinpoint the total number

unique targeted mobile devices to 279. By applying certain quality management techniques, I was

able to eliminate another 37 devices causing unacceptable levels of false positives. The ﬁnal

number of unique devices targeted was 240.

                                                        24.




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                          Exhibit C to Amended and Restated Complaint
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               Geofencing was used around suspected ballot harvesting organizations which then allowed

the expert to use device-centric mobile advertising IDs and behavioral data analytics to pin 240


target devices and ﬁirther establish a pattern of travel in and out of these locations.

                                                        25.

               Geofencing was also used to create virtual perimeters around 36 Fulton County drop boxes

and 309 drop boxes in the Atlanta metro area from 10/ 1/20 through Election Day 1/5/21.

                                                        26.

               Geofencing perimeters were used to identify the presence of the 240 targeted devices as

close as 18 inches from 28 drop boxes in a single day.

                                                        27.

               This is the same type of data analytics and algorithms that are used by law enforcement

and the intelligence community across the country and around the world.

                                                        28.

               A total of eight metro-Atlanta counties were analyzed during this process.

                                                        29.

               Fulton County comprised more than one-half of the drop box visits by the 240 targeted

devices.

                                                        30.

               Analysis of hotline, whistleblower and media reports resulted in the identiﬁcation of 28

organizations whose addresses revealed a high level of activity involving the 240 targeted devices.

                                                        31.

               From there, I was able to match these devices within 100 feet of an organization and 100

feet of ten or more drop boxes, which gave me a total of 240 Unique Devices of Interest.




(00594334. )




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                                                     32.

            I then looked at devices that were both found at an organization and then also at any given


drop box in Fulton County, GA and across the metro-Atlanta area.

                                                     33.

            In order to make sure that my team ruled out any false positives, false negatives, or any

accidental matches (such as ﬁreﬁghters or police ofﬁcers), we ran this data from October to

January.

                                                     34.

            Upon doing this, we found that this vote trafﬁcking was only done in October and

December.

                                                     35.

            This helped to rule out anyone who maybe worked nearby a drop box location as this

trafﬁcking only occurred in the month leading up to each election.

                                                     36.

            For purposes of HD-52, this vote trafﬁcking was executed in the month of October alone.

                                                     37.

            To corroborate this data, we had the determine where the ballots were coming from that

were being deposited into these drop boxes.

                                                     38.

            The ﬁrst hypothesis was UPS stores.

                                                     39.

            To test this hypothesis, my team geofenced 18 UPS stores under the theory that this was

the starting point of where these target devices would go and physically pick up ballots.




(MNSBJ. )




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                                                        40.

               The behavioral cellphone data then corroborated this data showing 240 devices were within

the virtual boundaries, established by the geofences, of one or more targeted organizations, two or

more UPS stores, and 10 or more drop boxes with the period of starting October 1, 2020 and

extending through November 3, 2020.

                                                        41.

               From each respective UPS store, each target device was then tracked as heading back to

the location of their respective organization, or “stash houses”, as we refer to them as.


                                         Accuracy of Cell Phone Data

                                                        42.

               The data tracks movement of each device as often as every four (4) seconds and as close

at eighteen (18) inches to any respective speciﬁc location, inside or outside of a geofence within

the purchased jurisdiction.

                                                        43.

               For reference, this is the same type of data and tracking mechanisms that are used to help

identify terrorists throughout the world, human trafﬁcking criminals, and drug trafﬁckers at the

border.

                                                        44.

               The speciﬁc cell phone data are signals that can be tracked back four (4) years.

                                                        45.

               There are approximately 27,000 cell phone applications that track, save and market

location data.

                                      Conclusions for HD-Sl and HD-Sl




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                                                        46.

               Around 7% of the total votes in Fulton County, GA (or 36,000 of the total votes in Fulton)

were inﬂuenced by this ballot harvesting scheme aﬁer taking into consideration the amount of

targeted devices and the frequency of drop box visits.

                                                        47.

               For HD-S l, estimated 1,700-2,000 votes inﬂuenced by harvesting.

                                                        48.

               For HD-52, estimated 1,700—2,000 votes inﬂuenced by harvesting.

                                                        49.

               I have come to the conclusion that this exact vote trafﬁcking scheme affected the results of

the 2020 November General Election for House District 52 in Georgia.

               FURTHER AFFIANT SAYETH NOT.



                                   [SIGNATURE ON FOLLOWING PAGE]




(00594334. )




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                                                      14(4‘ 94%;?”
                                               (7me
                                             GREGG PHILLIPS

SUBSCRIBED TO AND SWORN BEFORE ME
ON THIS 8th DAY OF APRIL, 2021 IN THE
PRESENCE OF:

  wwg‘»
NOTARY PUBLIC
                                                                          Patricia A Glaspor

                                                                        NOTARY PUBLIC
                                                                       STATE OF NEVADA
MY COMMISSION EXPIRES:                                   Q:             Appt. No.12-9064-1
                                                                     Expires October18.2024
              10/18/2024
                                           Notarized online using audio-video communication




(WSSGBSAI )




                      Exhibit C to Amended and Restated Complaint
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             DISTRICT OF COLUMBIA COURT OF APPEALS

              BOARD ON PROFESSIONAL RESPONSIBILITY                         Aug 4 2022 8:21am

In the Matter of

JEFFREY B. CLARK                                 Disciplinary Docket No.

A Member of the Bar of the District              2021-D193
of Columbia Court of Appeals

Bar No. 455315

Date of Admission: July 7, 1997


                 MOTION FOR EXTENSION OF TIME

      Comes now Jeffrey B. Clark, Respondent in the above-entitled matter, and

hereby moves for a 21-day extension of time within which to file his answer or

responsive pleadings to the Specification of Charges filed against him by the

Office of Disciplinary Counsel. Disciplinary Counsel opposes this request.

      The answer or responsive pleadings are currently due on August 11, 2022, as

the Charges were served on July 22, 2022. And Disciplinary Counsel had

previously agreed with our computation that the current deadline is August 11.

This Motion is thus timely filed under Rule 13.11 of the Rules of the Board of

Professional Responsibility.

      Respondent seeks a 21-day extension due to the need to coordinate the

preparation of the answer or responsive pleadings and the overall response to the

Charges among his counsel and in coordination with his employment obligations.
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In particular, Charles Burnham has multiple briefing deadlines and several

substantive hearings in the months of August and September; Robert Destro has

multiple professional obligations prior to Labor Day, including a previously-

scheduled speaking appearance in Pennsylvania from August 30-September 1,

2022. And Mr. Destro will need a block of prior time to prepare for that highly

technical appearance.

      Finally, Mr. Clark is still in the early days of new employment.




                                         2
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       The requested extension will not cause any undue delay in the progress of

this case.

       Disciplinary Counsel declined to agree to a 28-day extension. As a result,

Respondent and his counsel worked together to reduce the requested extension to

21 days so as to compromise as best as possible with Disciplinary Counsel.

       Wherefore, Respondent respectfully requests that he be granted a 21-day

extension within which to file his answer or other responsive pleadings in this case.

This would make the new deadline September 1, 2022.

       Respectfully submitted this 3 day of August, 2022.

                               [Signatures on next page]




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/s/ Charles Burnham                          Robert A. Destro*
                                             Ohio Bar #0024315
Charles Burnham                              4532 Langston Blvd, #520
DC Bar No. 1003464                           Arlington, VA 22207
1424 K Street, NW                            202-319-5303
Suite 500                                    robert.destro@protonmail.com
Washington DC 20005                          *Motion for pro hac vice admission
(202) 386-6920                               before DCCA in progress
charles@burnhamgorokhov.com


Harry W. MacDougald*
Georgia Bar No. 453076
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive, Suite 1600
Atlanta, Georgia 30346
(404) 843-1956
hmacdougald@ccedlaw.com
* Motion for pro hac vice admission before
DCCA in progress




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on August 3, 2022 served counsel for the

opposing party and the executive attorney by email addressed to:

      Hamilton P. Fox                 James T. Phalen
      Jason R. Horrell                Executive Attorney
      D.C. Bar                        Office of the Executive Attorney
      Building A, Room 117            430 E. Street, NW Suite 138
      515 5th Street NW               Washington, DC 20001
      Washington DC 20001             casemanagers@dcpbr.org
      foxp@dcodc.org


                                      /s/ Charles Burnham
                                      Charles Burnham
                                      DC Bar No. 1003464
                                      1424 K Street, NW
                                      Suite 500
                                      Washington DC 20005
                                      (202) 386-6920
                                      charles@burnhamgorokhov.com




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              DISTRICT OF COLUMBIA COURT OF APPEALS

               BOARD ON PROFESSIONAL RESPONSIBILITY

                                    Under Seal                               Aug 5 2022 4:30pm


 In the Matter of

 JEFFREY B. CLARK                                 Disciplinary Docket No.

 A Member of the Bar of the District              2021-D193
 of Columbia Court of Appeals

 Bar No. 455315

 Date of Admission: July 7, 1997


                 REPLY IN SUPPORT OF MOTION FOR
                                                        f
                           EXTENSION OF TIME

      Comes now Jeffrey B. Clark, Respondent in the above-entitled matter, and

submits this Reply in support of his motion for an extension of time to respond to

the Specification of Charges filed against him.

      Disciplinary Counsel attempts to justify his opposition to the motion for an

extension of time with a diatribe against what he has chosen to portray as Mr. Clark’s

“dilatory tactics.”
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 I.

      1.




                                2
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                                3
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          2.




3



a


                                    4
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      Disciplinary Counsel next accuses Respondent of “evading service” of the

Specification of Charges. No evidence is offered to support this attempt to besmirch

Respondent, and indeed it is false. Disciplinary Counsel made the same false




                                         5
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accusation in an email to one of Respondent’s attorneys on July 21, 2022 as follows:

“I sent a process server to serve Clark yesterday. He refused to open the door and

said he had to check with his lawyer. Are we really going to play this game? I can

always apply to the Court for permission to serve him by alternative means.” In

response, Respondent’s counsel informed Disciplinary Counsel that his story was

not correct:

      2. The only communication between Mr. Clark and the process
      server yesterday was by phone. When the process server declined to
      identify the papers that he was wanting to serve, Mr. Clark asked to speak
      with his counsel. There was no refusal to open a door and no
      communication through a closed door. The last time you wanted to serve
      something through a process server you coordinated it through me without
      any problem, so I don’t know why you didn’t go that route this time.

See Exh. A attached hereto, email chain between Mr. Fox and Mr. MacDougald,

attached hereto; Exh. B attached hereto (Declaration of Jeffrey B. Clark). In fact,

Mr. Clark was accompanied by two witnesses (whom we can produce to the Board

if necessary) when he voluntarily accepted service by agreement on the morning of

July 22, 2022 near his workplace on Capitol Hill in the District. Within an hour, Mr.

Fox’s office blasted a copy of the complaint to six national reporters. See Exh. C

attached hereto, an email from a Reuters reporter forwarding an email from

Lawrence Bloom of the Office of Disciplinary Counsel transmitting a copy of the

Charges to six reporters, one at Bloomberg, two at CNN, two at Reuters, and one at




                                         6
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American Lawyer Media.5

        After finishing his mistaken recounting of the facts, Disciplinary Counsel

finally turns to taking up the grounds for the Motion for an Extension of Time.




5 The attempt to serve Mr. Clark on July 20, 2022 – without any prior notice to counsel for Mr. Clark nor any attempt
arrange for acceptance of service – came quite coincidentally the day before the highly publicized July 21, 2022
hearing of the January 6 Committee. The filing of the charges was reported in the national news on the day service
was made. See, e.g. Google search results for “Jeffrey Clark Bar charges”: https://tinyurl.com/2p85nzzn (Approx. 6.5
million results on August 4, 2022)..


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Disciplinary Counsel has rushed to file the Charges, rushed to serve Mr. Clark the

day before a prime time hearing of the January 6 Committee, and lastly rushed to

blitz the Charges out to reporters. Indeed, without explaining the timing for why he

was asking, Reuters reporter David Thomas reached out to undersigned counsel, Mr.

MacDougald (email reprinted in the footnote below), at 9:26 am EDT the morning

of July 20, 2022. This suggests that someone in ODC may have leaked to Mr.

Thomas that service of public charges against Mr. Clark would be attempted later

that same day.6

         Disciplinary Counsel has now refused a routine courtesy in an effort to exploit

Respondent’s predicament and purported to justify it by groundlessly blaming

Respondent for Disciplinary Counsel’s own mistakes and                                          choices. ODC’s

relations with the press are further cause for concern. This goes beyond the denial of

a “courtesy” to opposing counsel—it is downright unfair.




6 “To Harry MacDougald, My name is David Thomas and I am a reporter with Reuters. I understand you are
representing Jeffrey Clark during his investigation by the D.C. Office of Disciplinary Counsel. I believe my colleagues
reached out to you in March about how former colleagues of Clark’s are cooperating with the disciplinary counsel’s
investigation:    https://www.reuters.com/world/us/exclusive-two-former-us-officials-help-ethics-probe-trump-ally-
clark-source-says-2022-03-29/ I was wondering if you had any comment now regarding that investigation. If you
could get back to me at your soonest convenience, I would greatly appreciate it.” See Exh. D, attached hereto.


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                    The legal and strategic issues in this case are complex and

momentous for the Respondent and precedential for the D.C. Bar as a whole,

notwithstanding Disciplinary Counsel’s attempt here to paint a simple extension

request as if it were unethical conduct or sharp practice.

                                 CONCLUSION




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      Respondent respectfully requests that under these circumstances he be granted

an additional 21 days in which to respond to the Charges.

      Respectfully submitted this 5th day of August, 2022.

/s/ Charles Burnham                           Robert A. Destro*
                                              Ohio Bar #0024315
Charles Burnham                               4532 Langston Blvd, #520
DC Bar No. 1003464                            Arlington, VA 22207
Burnham and Gorokhov, PLLC                    202-319-5303
1424 K Street, NW                             robert.destro@protonmail.com
Suite 500                                     *Motion for pro hac vice admission
Washington DC 20005                           before DCCA in progress
(202) 386-6920
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Harry W. MacDougald*
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(404) 843-1956
hmacdougald@ccedlaw.com
* Motion for pro hac vice admission before
DCCA in progress




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Reply in Support of Motion for Extension of Time by email

addressed to:

      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

      This this 5 day of August, 2022.


                                         /s/ Charles Burnham
                                         Charles Burnham
                                         DC Bar No. 1003464
                                         1424 K Street, NW
                                         Suite 500
                                         Washington DC 20005
                                         (202)3866920

                                         charles@burnhamgorokhov.com




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Subject: RE: [EXT]Re: Clark
From: hmacdougald@ccedlaw.com - To: Phil Fox - Cc: Angela Thornton, Azadeh Matinpour, Jason Horrell - Date: July 21, 2022 at
12:34 PM


He’ll be there

Regards,

-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956
Direct: 404-843-4109

From: Phil Fox <foxp@dcodc.org>
Date: July 21, 2022 at 12:22:00 PM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Cc: Angela Thornton <thorntona@dcodc.org>, Azadeh Matinpour <matinpoura@dcodc.org>, Jason Horrell
<horrellj@dcodc.org>
Subject: RE: [EXT]Re: Clark




       From: Harry MacDougald <hmacdougald@ccedlaw.com>
       Sent: Thursday, July 21, 2022 12:17 PM
       To: Phil Fox <FoxP@dcodc.org>
       Cc: Angela Thornton <thorntona@dcodc.org>; Azadeh Matinpour <matinpoura@dcodc.org>;
       Jason Horrell <horrellj@dcodc.org>
       Subject: [EXT]Re: Clark

                                                                                                                   Exhibit A
       Phil:



       1.

                  Mr. Clark will accept service of your papers tomorrow morning at 9:15 AM in front of
       the Hunan Dynasty Restaurant at 215 Pennsylvania Ave., SW, Washington, DC 20003. We also
       require your assurance that press will not be there. Please let me know if these points are
       agreeable.



       2. The only communication between Mr. Clark and the process server yesterday was by phone.
       When the process server declined to identify the papers that he was wanting to serve, Mr. Clark
       asked to speak with his counsel. There was no refusal to open a door and no communication
         Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 143 of 177
through a closed door. The last time you wanted to serve something through a process server
you coordinated it through me without any problem, so I don’t know why you didn’t go that
route this time.



-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956

Direct: 404-843-4109


From: Phil Fox <foxp@dcodc.org>
Date: July 21, 2022 at 11:04:24 AM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Cc: Angela Thornton <thorntona@dcodc.org>, Jason Horrell <horrellj@dcodc.org>, Azadeh
Matinpour <matinpoura@dcodc.org>
Subject: Clark




      I sent a process server to serve Clark yesterday. He refused to
      open the door and said he had to check with his lawyer. Are we
      really going to play this game? I can always apply to the Court
      for permission to serve him by alternative means.
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     Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 145 of 177




              DISTRICT OF COLUMBIA COURT OF APPEALS

               BOARD ON PROFESSIONAL RESPONSIBILITY

                                      Under Seal

 In the Matter of

 JEFFREY B. CLARK                                   Disciplinary Docket No.

 A Member of the Bar of the District                2021-D193
 of Columbia Court of Appeals

 Bar No. 455315

 Date of Admission: July 7, 1997


                               DECLARATION OF
                              JEFFREY B. CLARK

      Personally appeared before the undersigned officer, duly authorized to

administer oaths, Jeffrey B. Clark, who, after being duly sworn, testified and stated

as follows:

                                           1.

      My name is Jeffrey B. Clark. I am over the age of 18, suffer no mental

imparities, and have personal knowledge of the following:

                                           2.

      I am an attorney licensed to practice law in the District of Columbia since

1997. I am admitted to the bars of the U.S. Supreme Court, the U.S. Courts of Appeal

for all Circuits, the U.S. District Court for the District of Columbia, as well as several
     Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 146 of 177




other Districts, and the Court of Federal Claims. I am the Respondent in the above-

referenced matter.

                                         3.

      On the evening of July 20, 2022, I received a phone call from a man who

stated he was trying to serve me with papers. I asked him who he was serving the

papers for, and he identified the D.C. Bar. I asked him what the papers were exactly.

He managed to note it was something from the Office of Disciplinary Counsel but it

was clear that fully understanding the nature of the papers was something he could

not do accurately. I then told him that I would like to speak to at least one of my

lawyers before agreeing to accept service. I was still physically at work at my new

job in the District of Columbia, which is in the Capitol Hill area, when this

conversation took place — not at my home in Lorton, Virginia. I told him I would

call him back depending on the advice I received from my lawyers.

                                         4.

      I have seen the filing by Disciplinary Counsel for the D.C. Bar in response to

my Motion for an Extension of Time which states, in reference to service of the

Specification of Charges, that “When a process server went to Mr. Clark’s home to

serve him with the petition and specification of charges, Mr. Clark refused to admit

him.” See Response, p. 3. This is not true. I had no communication with the first

process server who called me on July 20 other than over the phone, as described



                                         2
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above. I never knew that day — nor do I know now — whether the process server

actually went to my home. I was not at home when he called, so I would not have

heard anyone ring the doorbell or knock on the door if he did do that before dialing

me. Nor do I know what time the process server might have relayed to Mr. Fox that

he went to my home, so I do not know if he had gone to my home before I left for

work that morning or never went to my home at all. There was no note or card left

at my door when I left for work on July 20 or when I got home that evening. When

I saw certain email traffic between Mr. Fox and one of my lawyers wrongly asserting

I had refused to answer the door to a process server, I asked my other family

members if a man (or anyone) had knocked at the door that afternoon or evening and

they had turned such a person away. My family members all told me “no.” Nor did

the first process server I spoke to by phone even tell me he had gone to my home or

ask me to step outside my home in Virginia (I would have told him I was not there)

or ask me to open the door to my home. I got the distinct impression from the first

process server I spoke to that he first wanted me to agree to accept service that night

and tell him where to drive to for service purposes, but as noted, I insisted I wanted

to speak to counsel first, so I did not give him a location. In sum, even if the first

process server did come to my house unbeknownst to me and my family at home

without me at the time, I certainly did not refuse to admit the first process server to




                                          3
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my house. I never communicated with him at all except over the phone as described

above.

                                          5.

      After consulting with my counsel starting the evening of July 20 and running

into about midday on July 21, my lawyer, Mr. MacDougald, made arrangements with

Mr. Fox for personal service on me, and I agreed to accept service on July 22, 2022.

As a result, I met the second process server (who, based on his voice and manner of

speech, seemed to be a different person than the first process server) at the agreed

time and place, which was the morning of July 22 at a location on Capitol Hill. I

was then voluntarily served on July 22, consistent with the prior arrangements that

were made on July 21. I had two interns from my place of employment with me at

the time who are witnesses to this event.

                                          6.

      Had Disciplinary Counsel approached my counsel to arrange for service in the

first instance, his baseless smear that I had attempted to evade service of the Charges

could have and should have been avoided. At all prior times since I retained counsel

for this matter, Mr. Fox or one of his subordinates have called or emailed counsel

first before trying to contact me. I do not know why Mr. Fox followed a different

procedure as to a represented party in this instance.




                                            4
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I declare under penalty of perjury that the foregoing is true and correct. Executed on
August 4, 2022.


                                 /s/ Jeffrey B. Clark
                          Jeffrey B. Clark




                                          5
                  Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 150 of 177
Subject: FW: Public Speciﬁcation of Charges (Clark)
From: Lynch, Sarah N. (Reuters) - To: JEFFREY.B.CLARK@GMAIL.COM, hmacdougald@ccedlaw.com - Cc: - Date: July 22, 2022
at 10:08 AM, Attachments: Spec. Jeﬀrey B. Clark.pdf


Jeff & Harry,

Do you have any response to these charges?
Please email if possible.
I am in court, covering the Bannon trial, so unable to take calls at this time.

Best,
Sarah

202 579 0289


From: Lawrence Bloom <blooml@dcodc.org>
Sent: Friday, July 22, 2022 10:01 AM
To: David McAfee <dMcAfee@bloombergindustry.com>; Katelyn Polantz
<katelyn.polantz@warnermedia.com>; Scarcella, Mike (Reuters) <Mike.Scarcella@thomsonreuters.com>;
Lynch, Sarah N. (Reuters) <Sarah.N.Lynch@thomsonreuters.com>; Tierney Sneed
<tierney.sneed@warnermedia.com>; Vanessa Blum <vblum@alm.com>
Cc: Phil Fox <FoxP@dcodc.org>; Angela Thornton <thorntona@dcodc.org>
Subject: [EXT] Public Speciﬁcation of Charges (Clark)

External Email: Use caution with links and attachments.



Lawrence K. Bloom
Senior Staff Attorney
Office of Disciplinary Counsel
515 Fifth Street, NW
Building A, Room 117
Washington, DC 20001
(202) 638-1501 ext. 1744




                                                        Exhibit C
                   Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 151 of 177
Subject: Reuters reporter question
From: Thomas, David (Reuters) - To: hmacdougald@ccedlaw.com - Cc: - Date: July 20, 2022 at 9:27 AM



To Harry MacDougald,

My name is David Thomas and I am a reporter with Reuters. I understand you are representing Jeffrey Clark
during his investigation by the D.C. Ofﬁce of Disciplinary Counsel. I believe my colleagues reached out to
you in March about how former colleagues of Clark’s are cooperating with the disciplinary counsel’s
investigation: https://www.reuters.com/world/us/exclusive-two-former-us-ofﬁcials-help-ethics-probe-trump-
ally-clark-source-says-2022-03-29/

I was wondering if you had any comment now regarding that investigation. If you could get back to me at
your soonest convenience, I would greatly appreciate it.

Thank you.

David Thomas (he/him)
Legal News Reporter
Thomson Reuters
+1 646 823 0937
d.thomas@thomsonreuters.com
Twitter: @DaveThomas5150

This e-mail is for the sole use of the intended recipient and contains information that may be privileged and/or
conﬁdential. If you are not an intended recipient, please notify the sender by return e-mail and delete this e-mail
and any attachments. Certain required legal entity disclosures can be accessed on our website:
https://www.thomsonreuters.com/en/resources/disclosures.html




                                                            Exhibit D
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             DISTRICT OF COLUMBIA COURT OF APPEALS

              BOARD ON PROFESSIONAL RESPONSIBILITY                         Aug 4 2022 8:21am

In the Matter of

JEFFREY B. CLARK                                 Disciplinary Docket No.

A Member of the Bar of the District              2021-D193
of Columbia Court of Appeals

Bar No. 455315

Date of Admission: July 7, 1997


                 MOTION FOR EXTENSION OF TIME

      Comes now Jeffrey B. Clark, Respondent in the above-entitled matter, and

hereby moves for a 21-day extension of time within which to file his answer or

responsive pleadings to the Specification of Charges filed against him by the

Office of Disciplinary Counsel. Disciplinary Counsel opposes this request.

      The answer or responsive pleadings are currently due on August 11, 2022, as

the Charges were served on July 22, 2022. And Disciplinary Counsel had

previously agreed with our computation that the current deadline is August 11.

This Motion is thus timely filed under Rule 13.11 of the Rules of the Board of

Professional Responsibility.

      Respondent seeks a 21-day extension due to the need to coordinate the

preparation of the answer or responsive pleadings and the overall response to the

Charges among his counsel and in coordination with his employment obligations.
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In particular, Charles Burnham has multiple briefing deadlines and several

substantive hearings in the months of August and September; Robert Destro has

multiple professional obligations prior to Labor Day, including a previously-

scheduled speaking appearance in Pennsylvania from August 30-September 1,

2022. And Mr. Destro will need a block of prior time to prepare for that highly

technical appearance.

      Finally, Mr. Clark is still in the early days of new employment. He has

several legal projects he is working on that were already interrupted by loss to

access to computer devices this June when the Department of Justice Inspector

General executed a search warrant and seized his electronic devices. DOJ has not

responded to multiple requests to return the devices. As a result, Mr. Clark is

without access to about one month’s worth of work in progress on his existing

projects for his new employer. Without the computers on which this work in

progress resided, he has had to begin such work from scratch causing other internal

deadlines to pile up. Additionally, Mr. Clark’s main desktop computer housed all

of his files (including pleadings, research, correspondence, etc.) on this case at the

investigative stage.



                                                                 Mr. Burnham has




                                           2
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also repeatedly endeavored to see DOJ return the computer in question to Mr.

Clark.

         This is far from a simple matter due in part to the novel issues presented and

the parallel Congressional and federal criminal investigations into the matters

referred to in the Charges.



         The requested extension will not cause any undue delay in the progress of

this case.

         Disciplinary Counsel declined to agree to a 28-day extension. As a result,

Respondent and his counsel worked together to reduce the requested extension to

21 days so as to compromise as best as possible with Disciplinary Counsel.

         Wherefore, Respondent respectfully requests that he be granted a 21-day

extension within which to file his answer or other responsive pleadings in this case.

This would make the new deadline September 1, 2022.

         Respectfully submitted this 3 day of August, 2022.

                                 [Signatures on next page]




                                            3
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/s/ Charles Burnham                          Robert A. Destro*
                                             Ohio Bar #0024315
Charles Burnham                              4532 Langston Blvd, #520
DC Bar No. 1003464                           Arlington, VA 22207
1424 K Street, NW                            202-319-5303
Suite 500                                    robert.destro@protonmail.com
Washington DC 20005                          *Motion for pro hac vice admission
(202) 386-6920                               before DCCA in progress
charles@burnhamgorokhov.com


Harry W. MacDougald*
Georgia Bar No. 453076
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive, Suite 1600
Atlanta, Georgia 30346
(404) 843-1956
hmacdougald@ccedlaw.com
* Motion for pro hac vice admission before
DCCA in progress




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on August 3, 2022 served counsel for the

opposing party and the executive attorney by email addressed to:

      Hamilton P. Fox                 James T. Phalen
      Jason R. Horrell                Executive Attorney
      D.C. Bar                        Office of the Executive Attorney
      Building A, Room 117            430 E. Street, NW Suite 138
      515 5th Street NW               Washington, DC 20001
      Washington DC 20001             casemanagers@dcpbr.org
      foxp@dcodc.org


                                      /s/ Charles Burnham
                                      Charles Burnham
                                      DC Bar No. 1003464
                                      1424 K Street, NW
                                      Suite 500
                                      Washington DC 20005
                                      (202) 386-6920
                                      charles@burnhamgorokhov.com




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              DISTRICT OF COLUMBIA COURT OF APPEALS

              BOARD ON PROFESSIONAL RESPONSIBILITY

                                    Under Seal                               Aug 5 2022 4:30pm


In the Matter of

JEFFREY B. CLARK                                  Disciplinary Docket No.

A Member of the Bar of the District               2021-D193
of Columbia Court of Appeals

Bar No. 455315

Date of Admission: July 7, 1997


                REPLY IN SUPPORT OF MOTION FOR
                           EXTENSION OF TIME

      Comes now Jeffrey B. Clark, Respondent in the above-entitled matter, and

submits this Reply in support of his motion for an extension of time to respond to

the Specification of Charges filed against him.

      Disciplinary Counsel attempts to justify his opposition to the motion for an

extension of time with a diatribe against what he has chosen to portray as Mr. Clark’s

“dilatory tactics.” In fact, any delay going back to service of the original letter of

inquiry and subpoena for the production of documents stems directly from ODC’s

failure to respect the applicable procedural requirements. The attempt to blame

Respondent mischaracterizes the facts. In seeking an extension Respondent did not

address those topics or invite argument about them, but he is now obliged to respond.
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       This history will only be briefly reviewed here for it is recounted in detail with

supporting affidavits in




       I.    PROCEDURAL BACKGROUND

             1.     T HE F IRST S UBPOENA            FOR    D OCUMENTS        AT    THE
                    I NVESTIGATIVE S TAGE

       Disciplinary Counsel attempted to serve a subpoena for documents on the

Respondent (the “First Subpoena”). Service of the First Subpoena was defective —

and not because of any action by Respondent. It was (i) not personally served at all,

(ii) was not accompanied by the required fee to pay for contingent attendance at

ODC’s offices if documents were not to be produced on grounds of privilege, (iii)

the affidavit of service was not certified and signed by the serving adult, and (iv)

personal service was never waived by counsel or Respondent. Additionally,

Respondent did not receive a full copy of the First Subpoena and its attachments,

albeit lacking proper service, until January 6, 2022, at which time Respondent, who

was at the tail end of recovering from COVID-19, immediately set to work

discussing the retention of counsel with his professional responsibility insurance

carrier.                                                                Ethics counsel,




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once retained and with approval of Respondent’s insurer, also began to work on the

myriad of legal defenses and issues involved in this case. On the return date of the

First Subpoena, counsel for Respondent served ODC with extensive letters objecting

to the subpoena. Disciplinary Counsel implies there was something untoward about

objecting to the First Subpoena right on the return date, but such a complaint about

a timely objection has no legal merit whatsoever. The whole point of the negotiated

deadline of January 31, 2022 was that this was the date by which Mr. Clark, through

his lawyers, would respond to ODC’s subpoena. We do not understand how any

obligation to respond sooner could be implied.

      After Respondent objected to the First Subpoena on multiple grounds (see

Letter #1 to ODC on Behalf of Respondent (Jan. 31, 2022) (LMQ Exhibit B, pdf p.

27)) and Letter #2 to ODC on Behalf of Respondent (Jan. 31, 2022) (LMQ Exhibit

C, pdf p. 72)),




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              2.   T HE S ECOND S UBPOENA        FOR   D OCUMENTS      AT   THE
                   I NVESTIGATIVE S TAGE

      Seeking to correct defective service of the First Subpoena, Disciplinary

Counsel undertook to serve a Second Subpoena. Through counsel, Respondent

agreed to accept service at home on February 28, 2021. Disputes about the impact

of the Second Subpoena on the pending DCCA case have not yet been resolved by

that Court.




                                                        Apart from the defective

service of the First Subpoena,




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      Obviously, responsibility for defective service of the subpoenas lies with

Disciplinary Counsel, not Respondent.4

      Disciplinary Counsel also grumbles that Respondent asserted a thoroughly

researched and argued set of legal objections to the jurisdiction of the D.C. Bar over

the conduct under investigation and to the enforceability of either the First or Second

Subpoenas. The offense taken by Disciplinary Counsel is unwarranted, as it appears

premised on a view that Respondent is somehow not entitled to defend himself.

ODC’s response would certainly have reflected criticism in very different terms, had

the Respondent’s objections been asserted without thorough legal support. ODC

cannot place a lawyer under scrutiny in the impossible position of being damned if

he does, and damned if he doesn’t.

      Disciplinary Counsel next accuses Respondent of “evading service” of the

Specification of Charges. No evidence is offered to support this attempt to besmirch

Respondent, and indeed it is false. Disciplinary Counsel made the same false




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accusation in an email to one of Respondent’s attorneys on July 21, 2022 as follows:

“I sent a process server to serve Clark yesterday. He refused to open the door and

said he had to check with his lawyer. Are we really going to play this game? I can

always apply to the Court for permission to serve him by alternative means.” In

response, Respondent’s counsel informed Disciplinary Counsel that his story was

not correct:

      2. The only communication between Mr. Clark and the process
      server yesterday was by phone. When the process server declined to
      identify the papers that he was wanting to serve, Mr. Clark asked to speak
      with his counsel. There was no refusal to open a door and no
      communication through a closed door. The last time you wanted to serve
      something through a process server you coordinated it through me without
      any problem, so I don’t know why you didn’t go that route this time.

See Exh. A attached hereto, email chain between Mr. Fox and Mr. MacDougald,

attached hereto; Exh. B attached hereto (Declaration of Jeffrey B. Clark). In fact,

Mr. Clark was accompanied by two witnesses (whom we can produce to the Board

if necessary) when he voluntarily accepted service by agreement on the morning of

July 22, 2022 near his workplace on Capitol Hill in the District. Within an hour, Mr.

Fox’s office blasted a copy of the complaint to six national reporters. See Exh. C

attached hereto, an email from a Reuters reporter forwarding an email from

Lawrence Bloom of the Office of Disciplinary Counsel transmitting a copy of the

Charges to six reporters, one at Bloomberg, two at CNN, two at Reuters, and one at




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American Lawyer Media.5

        After finishing his mistaken recounting of the facts, Disciplinary Counsel

finally turns to taking up the grounds for the Motion for an Extension of Time. He

belittles the complexity of the undertaking before Respondent and his counsel and

belittles the obstacles imposed by the Department of Justice’s seizure of

Respondent’s computer containing all of his work on this matter and all of his work

for his new employer. Disciplinary Counsel cannot fairly trivialize the genuine

problem these circumstances create for Respondent, nor should he attempt to exploit

the situation. That is no way to responsibly conduct these proceedings.




5 The attempt to serve Mr. Clark on July 20, 2022 – without any prior notice to counsel for Mr. Clark nor any attempt
arrange for acceptance of service – came quite coincidentally the day before the highly publicized July 21, 2022
hearing of the January 6 Committee. The filing of the charges was reported in the national news on the day service
was made. See, e.g. Google search results for “Jeffrey Clark Bar charges”: https://tinyurl.com/2p85nzzn (Approx. 6.5
million results on August 4, 2022)..


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                                                Indeed, without explaining the timing for why he

was asking, Reuters reporter David Thomas reached out to undersigned counsel, Mr.

MacDougald (email reprinted in the footnote below), at 9:26 am EDT the morning

of July 20, 2022. This suggests that someone in ODC may have leaked to Mr.

Thomas that service of public charges against Mr. Clark would be attempted later

that same day.6

         Disciplinary Counsel has now refused a routine courtesy in an effort to exploit

Respondent’s predicament and purported to justify it by groundlessly blaming

Respondent for Disciplinary Counsel’s own mistakes and                                          choices. ODC’s

relations with the press are further cause for concern. This goes beyond the denial of

a “courtesy” to opposing counsel—it is downright unfair.




6 “To Harry MacDougald, My name is David Thomas and I am a reporter with Reuters. I understand you are
representing Jeffrey Clark during his investigation by the D.C. Office of Disciplinary Counsel. I believe my colleagues
reached out to you in March about how former colleagues of Clark’s are cooperating with the disciplinary counsel’s
investigation:    https://www.reuters.com/world/us/exclusive-two-former-us-officials-help-ethics-probe-trump-ally-
clark-source-says-2022-03-29/ I was wondering if you had any comment now regarding that investigation. If you
could get back to me at your soonest convenience, I would greatly appreciate it.” See Exh. D, attached hereto.


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while there is a federal criminal investigation underway, in a controversy that is

politically supercharged, in a jurisdiction that is extremely politically biased against

Respondent.




                     The legal and strategic issues in this case are complex and

momentous for the Respondent and precedential for the D.C. Bar as a whole,

notwithstanding Disciplinary Counsel’s attempt here to paint a simple extension

request as if it were unethical conduct or sharp practice.

                                  CONCLUSION

      The record shows that the delay about which Disciplinary Counsel complains

was actually caused by clerical and procedural faults and strategic decisions that he

made, not Respondent. It further shows that Disciplinary Counsel’s smear of

Respondent as trying to evade service of the Charges in this case is reckless and

false, and furthermore was made after he was told by undersigned counsel that it was

not true. Disciplinary Counsel has taken to blaming others for his own mistakes or

tactical regrets. Mr. Clark (and we as his lawyers) are entitled to insist on full

observance of both his procedural and substantive rights.



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      Respondent respectfully requests that under these circumstances he be granted

an additional 21 days in which to respond to the Charges.

      Respectfully submitted this 5th day of August, 2022.

/s/ Charles Burnham                           Robert A. Destro*
                                              Ohio Bar #0024315
Charles Burnham                               4532 Langston Blvd, #520
DC Bar No. 1003464                            Arlington, VA 22207
Burnham and Gorokhov, PLLC                    202-319-5303
1424 K Street, NW                             robert.destro@protonmail.com
Suite 500                                     *Motion for pro hac vice admission
Washington DC 20005                           before DCCA in progress
(202) 386-6920
charles@burnhamgorokhov.com


Harry W. MacDougald*
Georgia Bar No. 453076
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Two Ravinia Drive, Suite 1600
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(404) 843-1956
hmacdougald@ccedlaw.com
* Motion for pro hac vice admission before
DCCA in progress




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Reply in Support of Motion for Extension of Time by email

addressed to:

      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

      This this 5 day of August, 2022.


                                         /s/ Charles Burnham
                                         Charles Burnham
                                         DC Bar No. 1003464
                                         1424 K Street, NW
                                         Suite 500
                                         Washington DC 20005
                                         (202)3866920

                                         charles@burnhamgorokhov.com




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Subject: RE: [EXT]Re: Clark
From: hmacdougald@ccedlaw.com - To: Phil Fox - Cc: Angela Thornton, Azadeh Matinpour, Jason Horrell - Date: July 21, 2022 at
12:34 PM


He’ll be there,

Regards,

-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956
Direct: 404-843-4109

From: Phil Fox <foxp@dcodc.org>
Date: July 21, 2022 at 12:22:00 PM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Cc: Angela Thornton <thorntona@dcodc.org>, Azadeh Matinpour <matinpoura@dcodc.org>, Jason Horrell
<horrellj@dcodc.org>
Subject: RE: [EXT]Re: Clark


       I will agree to your terms,




       From: Harry MacDougald <hmacdougald@ccedlaw.com>
       Sent: Thursday, July 21, 2022 12:17 PM
       To: Phil Fox <FoxP@dcodc.org>
       Cc: Angela Thornton <thorntona@dcodc.org>; Azadeh Matinpour <matinpoura@dcodc.org>;
       Jason Horrell <horrellj@dcodc.org>
       Subject: [EXT]Re: Clark

                                                                                                                   Exhibit A
       Phil:



       1.

                  Mr. Clark will accept service of your papers tomorrow morning at 9:15 AM in front of
       the Hunan Dynasty Restaurant at 215 Pennsylvania Ave., SW, Washington, DC 20003. We also
       require your assurance that press will not be there. Please let me know if these points are
       agreeable.



       2. The only communication between Mr. Clark and the process server yesterday was by phone.
       When the process server declined to identify the papers that he was wanting to serve, Mr. Clark
       asked to speak with his counsel. There was no refusal to open a door and no communication
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through a closed door. The last time you wanted to serve something through a process server
you coordinated it through me without any problem, so I don’t know why you didn’t go that
route this time.



-----
Harry W. MacDougald
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive
Suite 1600
Atlanta, Georgia 30346
404-843-1956

Direct: 404-843-4109


From: Phil Fox <foxp@dcodc.org>
Date: July 21, 2022 at 11:04:24 AM
To: Harry MacDougald <hmacdougald@ccedlaw.com>
Cc: Angela Thornton <thorntona@dcodc.org>, Jason Horrell <horrellj@dcodc.org>, Azadeh
Matinpour <matinpoura@dcodc.org>
Subject: Clark




      I sent a process server to serve Clark yesterday. He refused to
      open the door and said he had to check with his lawyer. Are we
      really going to play this game? I can always apply to the Court
      for permission to serve him by alternative means.
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              DISTRICT OF COLUMBIA COURT OF APPEALS

               BOARD ON PROFESSIONAL RESPONSIBILITY

                                      Under Seal

 In the Matter of

 JEFFREY B. CLARK                                   Disciplinary Docket No.

 A Member of the Bar of the District                2021-D193
 of Columbia Court of Appeals

 Bar No. 455315

 Date of Admission: July 7, 1997


                               DECLARATION OF
                              JEFFREY B. CLARK

      Personally appeared before the undersigned officer, duly authorized to

administer oaths, Jeffrey B. Clark, who, after being duly sworn, testified and stated

as follows:

                                           1.

      My name is Jeffrey B. Clark. I am over the age of 18, suffer no mental

imparities, and have personal knowledge of the following:

                                           2.

      I am an attorney licensed to practice law in the District of Columbia since

1997. I am admitted to the bars of the U.S. Supreme Court, the U.S. Courts of Appeal

for all Circuits, the U.S. District Court for the District of Columbia, as well as several
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other Districts, and the Court of Federal Claims. I am the Respondent in the above-

referenced matter.

                                         3.

      On the evening of July 20, 2022, I received a phone call from a man who

stated he was trying to serve me with papers. I asked him who he was serving the

papers for, and he identified the D.C. Bar. I asked him what the papers were exactly.

He managed to note it was something from the Office of Disciplinary Counsel but it

was clear that fully understanding the nature of the papers was something he could

not do accurately. I then told him that I would like to speak to at least one of my

lawyers before agreeing to accept service. I was still physically at work at my new

job in the District of Columbia, which is in the Capitol Hill area, when this

conversation took place — not at my home in Lorton, Virginia. I told him I would

call him back depending on the advice I received from my lawyers.

                                         4.

      I have seen the filing by Disciplinary Counsel for the D.C. Bar in response to

my Motion for an Extension of Time which states, in reference to service of the

Specification of Charges, that “When a process server went to Mr. Clark’s home to

serve him with the petition and specification of charges, Mr. Clark refused to admit

him.” See Response, p. 3. This is not true. I had no communication with the first

process server who called me on July 20 other than over the phone, as described



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above. I never knew that day — nor do I know now — whether the process server

actually went to my home. I was not at home when he called, so I would not have

heard anyone ring the doorbell or knock on the door if he did do that before dialing

me. Nor do I know what time the process server might have relayed to Mr. Fox that

he went to my home, so I do not know if he had gone to my home before I left for

work that morning or never went to my home at all. There was no note or card left

at my door when I left for work on July 20 or when I got home that evening. When

I saw certain email traffic between Mr. Fox and one of my lawyers wrongly asserting

I had refused to answer the door to a process server, I asked my other family

members if a man (or anyone) had knocked at the door that afternoon or evening and

they had turned such a person away. My family members all told me “no.” Nor did

the first process server I spoke to by phone even tell me he had gone to my home or

ask me to step outside my home in Virginia (I would have told him I was not there)

or ask me to open the door to my home. I got the distinct impression from the first

process server I spoke to that he first wanted me to agree to accept service that night

and tell him where to drive to for service purposes, but as noted, I insisted I wanted

to speak to counsel first, so I did not give him a location. In sum, even if the first

process server did come to my house unbeknownst to me and my family at home

without me at the time, I certainly did not refuse to admit the first process server to




                                          3
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my house. I never communicated with him at all except over the phone as described

above.

                                          5.

      After consulting with my counsel starting the evening of July 20 and running

into about midday on July 21, my lawyer, Mr. MacDougald, made arrangements with

Mr. Fox for personal service on me, and I agreed to accept service on July 22, 2022.

As a result, I met the second process server (who, based on his voice and manner of

speech, seemed to be a different person than the first process server) at the agreed

time and place, which was the morning of July 22 at a location on Capitol Hill. I

was then voluntarily served on July 22, consistent with the prior arrangements that

were made on July 21. I had two interns from my place of employment with me at

the time who are witnesses to this event.

                                          6.

      Had Disciplinary Counsel approached my counsel to arrange for service in the

first instance, his baseless smear that I had attempted to evade service of the Charges

could have and should have been avoided. At all prior times since I retained counsel

for this matter, Mr. Fox or one of his subordinates have called or emailed counsel

first before trying to contact me. I do not know why Mr. Fox followed a different

procedure as to a represented party in this instance.




                                            4
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I declare under penalty of perjury that the foregoing is true and correct. Executed on
August 4, 2022.


                                 /s/ Jeffrey B. Clark
                          Jeffrey B. Clark




                                          5
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Subject: FW: Public Speciﬁcation of Charges (Clark)
From: Lynch, Sarah N. (Reuters) - To: JEFFREY.B.CLARK@GMAIL.COM, hmacdougald@ccedlaw.com - Cc: - Date: July 22, 2022
at 10:08 AM, Attachments: Spec. Jeﬀrey B. Clark.pdf


Jeff & Harry,

Do you have any response to these charges?
Please email if possible.
I am in court, covering the Bannon trial, so unable to take calls at this time.

Best,
Sarah

202 579 0289


From: Lawrence Bloom <blooml@dcodc.org>
Sent: Friday, July 22, 2022 10:01 AM
To: David McAfee <dMcAfee@bloombergindustry.com>; Katelyn Polantz
<katelyn.polantz@warnermedia.com>; Scarcella, Mike (Reuters) <Mike.Scarcella@thomsonreuters.com>;
Lynch, Sarah N. (Reuters) <Sarah.N.Lynch@thomsonreuters.com>; Tierney Sneed
<tierney.sneed@warnermedia.com>; Vanessa Blum <vblum@alm.com>
Cc: Phil Fox <FoxP@dcodc.org>; Angela Thornton <thorntona@dcodc.org>
Subject: [EXT] Public Speciﬁcation of Charges (Clark)

External Email: Use caution with links and attachments.



Lawrence K. Bloom
Senior Staff Attorney
Office of Disciplinary Counsel
515 Fifth Street, NW
Building A, Room 117
Washington, DC 20001
(202) 638-1501 ext. 1744




                                                        Exhibit C
                   Case 1:22-mc-00096-RC Document 1-40 Filed 10/17/22 Page 177 of 177
Subject: Reuters reporter question
From: Thomas, David (Reuters) - To: hmacdougald@ccedlaw.com - Cc: - Date: July 20, 2022 at 9:27 AM



To Harry MacDougald,

My name is David Thomas and I am a reporter with Reuters. I understand you are representing Jeffrey Clark
during his investigation by the D.C. Ofﬁce of Disciplinary Counsel. I believe my colleagues reached out to
you in March about how former colleagues of Clark’s are cooperating with the disciplinary counsel’s
investigation: https://www.reuters.com/world/us/exclusive-two-former-us-ofﬁcials-help-ethics-probe-trump-
ally-clark-source-says-2022-03-29/

I was wondering if you had any comment now regarding that investigation. If you could get back to me at
your soonest convenience, I would greatly appreciate it.

Thank you.

David Thomas (he/him)
Legal News Reporter
Thomson Reuters
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d.thomas@thomsonreuters.com
Twitter: @DaveThomas5150

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and any attachments. Certain required legal entity disclosures can be accessed on our website:
https://www.thomsonreuters.com/en/resources/disclosures.html




                                                            Exhibit D
